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                       Exhibit 15
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                                    UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF LOUISIANA

                                                         *
                                                         *
IN RE: OIL SPILL by the OIL RIG                          *   MDL NO. 2179
       “DEEPWATER HORIZON” in the                        *
        GULF OF MEXICO, on                               *
        APRIL 20, 2010                                   *   SECTION J
                                                         *
                                                         *
                                                         *   JUDGE BARBIER
                                                         *   MAG. JUDGE SHUSHAN
*******************************************


                              SUPPLEMENTAL DECLARATION OF HAL SIDER

        1.      I am a Senior Vice‐President of Compass Lexecon. This declaration supplements my

February 18, 2013 declaration submitted in this matter, which is Exhibit 11 to BP’s In Camera Motion to

Reverse And Set Aside The Claims Administrator’s January 15, 2013 Policy Decision Concerning The

Business Economic Loss Framework. My prior declaration includes a description of my qualifications as

well as my curriculum vita. That declaration also describes my role in assisting BP in its negotiation of

the Economic and Property Damages Settlement Agreement and in monitoring the implementation of

the Settlement Agreement.

        2.      My prior declaration evaluates the source and empirical importance of distortions in

Business Economic Loss (“BEL”) claim determinations that have been identified by BP, as well as their

impact on BEL claim activity. This declaration supplements that declaration with additional analysis

relating to: (i) the frequency with which the Court Supervised Settlement Program (“CSSP”) relies on

flawed and incomplete data, which results in compensating BEL claimants for artificial or non‐existent

losses and the industries in which claims are most frequently affected by flawed data; (ii) the current

status of BEL offers and outstanding claims in industries with claims most affected by CSSP’s reliance on




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flawed and incomplete data; and (iii) the impact of CSSP’s payment for artificial losses on the filing of

new BEL claims.

           3.      My analysis is based in part on data files made available in electronic form by the CSSP

each week which identify the status of all BEL claims, including various claimant characteristics as well as

the size of offers made to BEL claimants. My analysis is also based on data from workbooks prepared by

CSSP accountants in evaluating BEL claims and is based on BEL claim activity through March 3, 2013.

These electronic data files are provided under terms of the Settlement Agreement.1 A list of the

materials I reviewed in preparing this Supplemental Declaration is attached as Appendix 1.

A.         CSSP’S RELIANCE ON FLAWED AND INCOMPLETE FINANCIAL DATA IS WIDESPREAD AND
           RESULTS IN ARTIFICIAL LOSSES FOR MANY BEL OFFERS.

           4.      As discussed in my prior declaration, as well as declarations from other BP experts,

CSSP’s reliance on flawed and incomplete financial data has resulted in the systematic calculation of

artificial losses. My prior declaration, as well as declarations from other BP experts, focused on

compensation for artificial losses in the agriculture, professional services, and construction industries.

As shown below, these three industries together account for 24% of BEL claims to date and 36% of the

value of BEL offers.

           5.      However, as discussed in these prior declarations, BEL claims filed with the CSSP from

any industry can and do include flawed and incomplete financial data that generate artificial losses. This

section evaluates the frequency with which CSSP relies on flawed and incomplete financial data in

evaluating BEL claims. Two types of metrics of the prevalence of such data problems are analyzed: (i)

the indicators of the presence of financial data that fail to match revenue and corresponding expenses

that were evaluated in my February 18, 2013 declaration and (ii) indicators that the CSSP’s BEL offer for

a claimant’s 2010 variable profit expected in the absence of the spill is likely to exceed by a substantial

margin the variable profit actually earned by the BEL claimant in the benchmark period.

1
    Settlement Agreement, Section 4.4.14.


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        6.       This section also ranks industries by the frequency with which CSSP relies on flawed and

incomplete financial data. Industries are identified based on their code in the North American Industry

Classification System (NAICS). NAICS codes are used by Federal statistical agencies for classifying

business establishments and are used by CSSP in classifying the business activity of BEL claimants. The

NAICS codes that are included in each of the industry categories used in the analysis are presented in

Appendix 2.

        7.       Analysis of both metrics is based on data from all BEL offers above $75,000 (including

RTP) as of March 3.2 In total, data from 2,314 claims have been analyzed. These claims account for 90%

of the value of BEL offers.

        1.        Indicators of the Presence of Flawed and Incomplete Financial Data

        8.       To identify the frequency with which CSSP relies on flawed and incomplete financial

data in calculating BEL offers across industries, I have updated my analysis of the share of BEL offers that

meet one or more of the indicators defined in my February 18, 2013 declaration.3 These indicators are

analyzed using monthly claimant‐specific financial data for 2009 as reported by claimants and applied by

CSSP accountants in evaluating claims.

        9.       I evaluate the three indicators of the likelihood that CSSP’s evaluation of a claim relies

on flawed or incomplete financial data identified in my prior declaration: (i) months in which reported

revenue is more than 17% of annual revenue; (ii) months with reported negative variable profit margins

that also account for 2% or more of annual revenue; and (iii) wide swings in variable profit margins, as

reflected by the deviation of more than 7.5 percentage points between a month’s share of annual

revenue and that month’s share of annual variable expenses. As noted in my prior declaration, these


2
  For each of these claims, data on monthly revenue, payroll, and variable costs have been extracted from the CSSP
accountant worksheets for further analysis. CSSP accountant worksheets are not available at the CSSP portal for a
small number of BEL claims with offers above $75,000. BEL claims for start‐up businesses and failed businesses are
not included in this analysis.
3
  Declaration of Hal Sider, February 18, 2013, ¶29‐30.


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indicators provide a reasonable starting point for evaluating the frequencies with which financial data

provided by claimants to CSSP fail to properly identify when revenue was earned and/or fail to match

revenue with corresponding expenses incurred. While certain claims identified by these indicators may

not contain flawed and incomplete financial data, other claims not flagged by these indicators may in

fact suffer from such problems. However, the large share of claims that meet the specified indicators

provides evidence that such problems are widespread.

        10.     A large share of CSSP offers are based on data that meet one or more of the three

indicators, which demonstrates that CSSP frequently relies on flawed and incomplete financial data in

evaluating claims from a wide range of industries. Table 1 summarizes the results of this analysis and

shows that 68% of the claims evaluated meet one or more of the three indicators of the presence of

flawed and incomplete financial data. As Table 1 indicates, more than half of all claims in all industries

other than bars/restaurants meet at least one of the three indicators. Claims in the agriculture,

professional services, and construction industries most frequently meet at least one of the three

indicators and more than 60% of claims in the real estate, wholesale trade, manufacturing and retail

sectors also meet at least one indicator.

        2.      The Frequency of Disproportionately Large BEL Offers

        11.     CSSP’s base (pre‐RTP) offer to a BEL claimant reflects its estimate of variable profit lost

by the claimant in 2010. CSSP’s offer, when added to the claimant’s actual 2010 variable profit, yields

CSSP’s implied estimate of the variable profit that the claimant would have earned in 2010 in the

absence of the spill. Thus, a second approach to identifying claims in which CSSP has relied on flawed

and incomplete financial data is to identify claims for which CSSP’s implied estimate of a claimant’s 2010




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variable profit in the absence of the spill is large relative to the claimant’s actual variable profit in the

benchmark period used to evaluate the claim.4

          12.     A BEL offer which implies that a claimant’s 2010 variable profit in the absence of the

spill would have been 25% (or more) greater than the claimant’s variable profit in the benchmark period

is defined here in my Supplemental Declaration to be a “disproportionately large offer.” The existence

of a disproportionately large offer is an alternative indicator that CSSP is compensating claimants for

artificial losses due to reliance on flawed and incomplete financial data. Table 1 focuses on the 25%

threshold in order to focus on claims where the distortion is most substantial, but the results are not

sensitive to modifications of this threshold value.

          13.     Table 1 shows that fully 35% of BEL offers are disproportionately high in the sense that

the offer implies that the claimant’s 2010 variable profit would have exceeded variable profit in the

benchmark period5 by more than 25% in the absence of the spill. Evaluation of this metric on an

industry‐specific basis indicates that construction and agriculture exhibit the largest share of claims with

disproportionately large BEL offers, while professional services, real estate, wholesale trade,

manufacturing, and retail claims also exhibit high shares of claims with disproportionately large BEL

offers.

          14.     Appendix 3 contains a non‐exhaustive list of more than 200 BEL offers issued by the

CSSP that received disproportionately large BEL offers, as defined above. A total of 159 of the claims

identified in Appendix 3 also meet an additional criterion that highlights that CSSP provides

compensation to many claimants that experienced no decline in variable profit in 2010. Specifically, for
4
  CSSP’s implied estimate of a claimant’s 2010 variable profit in the absence of the spill is calculated as the sum of
(i) the claimant’s actual 2010 variable profit and (ii) the claimant’s base BEL compensation as calculated by CSSP.
The analysis identifies claims in which either (i) the implied May‐December 2010 variable profit exceeds the
claimant’s actual variable profit in May‐December of the benchmark period by more than 25%; or (ii) the implied
annual 2010 variable profit exceeds the claimant’s actual annual variable profit in the benchmark period by more
than 25%.
5
  As used here, “benchmark period” refers to the Benchmark Year(s); if more than one year was picked, the
benchmark period variable profit amount indicated refers to the average of annual variable profit all benchmark
years.


                                                           5
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159 of the offers listed in Appendix 3, the claimant’s actual variable profit earned by the claimant in

2010 exceeds the actual variable profit the claimant earned in the benchmark period.6

3.       Overall Assessment Of CSSP’S Reliance On Flawed And Incomplete Data

         15.      The two sets of metrics discussed above indicate that CSSP’s reliance on flawed and

incomplete financial data is widespread. The two analyses yield similar results with respect to the

identification of industries most likely to be affected by these problems.

         16.      Analyses presented below focuses on two sets of industries in which claimants are most

likely to have claims affected by flawed and incomplete financial data: (i) Group 1, consisting of

agriculture, professional services and construction, in which the highest share of BEL offers are based on

flawed and incomplete data, as indicated by these metrics; and (ii) Group 2, consisting of real estate,

wholesale trade, manufacturers, and retail trade, which also exhibit a high share of BEL offers based on

flawed and incomplete data.7 As noted above, a substantial number of BEL offers in other industries

also are based on flawed and incomplete financial data as reflected in these metrics. As a result, the

classifications on industries into Groups 1 and 2 should be considered rough industry groupings of the

extent of CSSP’s reliance on flawed and incomplete financial data.
6
  These 159 offers include claimants with disproportionate BEL offers in which either (i) actual May‐December
2010 variable profit exceeds actual May‐December variable profit in the benchmark period; or (i) actual annual
2010 variable profit exceeds actual annual variable profit in the benchmark period.
7
  The flawed and incomplete nature of financial data provided by many claimants in the Group 1 industries
(construction, agriculture and professional services industries) are discussed at length in the declarations of BP’s
accounting experts. (Declarations of David A. Hall, Charles E. Finch and Xavier Oustalniol, January 23, 2013, and
Supplemental Declarations February 18, 2013, attached as Exhibits 3 to 8 of BP’s In Camera Motion To Reverse
And Set Aside The Claim Administrator’s January 15, 2013 Policy Decision Concerning The Business Economic Loss
Framework) These problems include the failure to properly identify when revenue was earned and failure to
match revenue with corresponding expenses. Financial data submitted by claimants in Group 2 industries (real
estate, wholesale trade, manufacturing, and retail trade) are frequently characterized by similar problems. As
discussed in my prior declaration, claimants in the retail, wholesale trade, and manufacturing industries often
purchase inventory in one period that is sold or used in subsequent periods. Financial data that report
expenditures based on the date outlays were made will not accurately reflect expenses incurred (which depends
on when inventory is used) and thus will not properly match revenue with corresponding expenses. (Declaration
of Hal Sider, ¶ 46, Exhibit 11 to BP’s In Camera Motion) Similarly, revenue may not be aligned with corresponding
expenses for claimants in the real estate industry because the receipt of sales commissions (based on months in
which sales are made) are not matched with the corresponding expenses were incurred over the length of the
listing. As a result, these claimants are likely to exhibit spikes in revenue and significant margin variability from
month to month.


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           17.      The number of large offers to claimants from industries in Group 1 and Group 2 provides

another indication of the frequency with which CSSP relies on flawed and incomplete data resulting in

compensation for artificial losses. As shown in Table 2, 50 of the 100 largest claims are from Group 1

industries while another 38 are from Group 2 industries. (Group 1 claimants are highlighted in yellow,

Group 2 claimants are highlighted in blue.)

B.         THE CURRENT STATUS OF BEL CLAIMS FILED TO DATE IN INDUSTRIES IN WHICH FLAWED AND
           INCOMPLETE FINANCIAL DATA ARE PREVALENT

           18.      This section reviews the current status of BEL claims and offers focusing on the

industries in which claims are most likely to incorporate flawed and incomplete financial data. The

analysis shows that claims submitted to date in industries in which data problems are prevalent would

result in very large potential payments under CSSP’s interpretation of the BEL framework.

           19.      As shown in Table 3, more than 40,000 BEL claims had been submitted to CSSP as of

March 3, 2013, and additional claims continue to be submitted.8 As of March 3, CSSP has extended

offers to 4,948 BEL claims, which reflects 12% of all BEL claims submitted. Another 9% of BEL claims

have been denied. Thus, 79% of BEL claims submitted to CSSP remain outstanding, having neither been

denied nor offered compensation. Outstanding claims include (i) those that are “under review” by CSSP

and (ii) those that have been issued an “incomplete notice.” Claimants with incomplete status are

entitled to supplement their submission, subject to certain deadlines.

           20.      Tables 3 and 4 report BEL offers by major industry. Through March 3, 2013, nearly

5,000 offers have been made with a total value (including RTP) of $1.16 billion. Construction claimants

have received $210 million in BEL offers for 596 claims through March 3, 2013 (18% of total value of

offers made). Group 1 claimants (construction, professional services and agriculture) have received

1,245 BEL offers that total $418 million (36% of the total value). Group 2 claimants (real estate,



8
    The count of BEL claims includes claims for failed businesses and start‐up businesses.


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wholesale, manufacturing, retail) have received 1,743 BEL offers that total $369 million (32% of the total

value of offers made).

        21.      As Tables 3 and 4 indicate, roughly 80% of claims in Groups 1 and 2 are outstanding, not

yet receiving either an offer or a denial notice. This includes more than 7,600 outstanding Group 1

claims and more than 11,000 outstanding Group 2 claims. At present it is not known (i) how many

outstanding claims ultimately will receive offers and (ii) what the future value of offers will be. As a

result, it is not possible to reliably estimate the value of offers for outstanding BEL claims. However,

extrapolation based on current BEL offers (which reflect CSSP’s January 15, 2013 Policy Decision

regarding the BEL framework) and claims made to date could result in billions of dollars in offers in the

industries in which CSSP most frequently relies on flawed and incomplete data.

C.      CSSP’S RELIANCE ON FLAWED AND INCOMPLETE FINANCIAL DATA IS ATTRACTING NEW
        CLAIMS FROM INDUSTRIES AND AREAS REMOTE FROM THE SPILL.

        22.      New BEL claims continue to be filed each week and new claims can be filed through

April 22, 2014 or six month after the “Effective Date” of the Settlement Agreement.9 As discussed in my

February 18, 2013 declaration, CSSP’s implementation of the BEL framework using flawed and

incomplete data that results in BEL offers that compensate claimants for artificial losses is attracting

claims from many businesses that had not previous claimed harm from the DWH spill, and from areas

that are remote from the DWH spill.

        23.      This section shows that CSSP’s reliance on flawed and incomplete financial data is

having a dramatic “feedback” effect that is attracting an increasing number of claimants that have not

previously claimed spill related harm, and from areas (economic loss zones C and D) that are remote




9
 Settlement Agreement Paragraph 5.11.8 says: For all Claims other than those made under the Seafood
Compensation Program, the deadline for submission of Claim Forms to the Settlement Program shall be April 22,
2014 or 6 (six) months after the Effective Date, whichever occurs later, and the Settlement Program shall remain
open through the determination, appeals, and where applicable, payment of all timely submitted Claim Forms.


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from the DWH spill. The data presented in this section update and expand on the analysis presented in

my February 18, 2013 declaration.

         24.      Table 5 identifies the share of BEL offers made to claimants that filed Short Form

Joinders (SFJs), a court approved form which identified a claimant’s intent to participate in MDL 2179 by

joining in the Master Complaint. Results are reported for (i) all BEL offers, and (ii) BEL offers over

$500,000. As the table shows, less than 6% of BEL offers over $500,000 in agriculture, professional

services, and construction were to claimants that had filed SFJs.10 In contrast, more than 30 percent of

claimants in the hotel/motel and bar/restaurant industries receiving offers of $500,000 or more had

signed SFJs.

         25.      Figure 1 shows that the weekly number of newly submitted BEL claims varies from week

to week (due in part to holidays) and has followed no strong trend, although it appears to be increasing

in recent weeks.

         26.      This overall trend masks trends among subgroups that suggest that CSSP’s

implementation of the BEL framework is attracting an increasing number of claimants that had not

previously claimed to have suffered spill related harm, including many from areas distant from the spill.

         27.      Figure 2 shows the trend in the share of all claims from Zone D, which has increased

steadily from 25% in June 2012 to 49% in February 2013, indicating rapid growth in the share of new

claims are from geographic areas distant from the spill.

         28.      Figure 3 shows that there is a sharp increase in the share of new BEL claims accounted

for by claimants that had not previously claimed economic loss from the DWH spill by filing a claim with

the Gulf Coast Claims Facility (GCCF). GCCF participants include businesses that received payments but

did not sign releases as well as those rejected by GCCF. These trends are further classified by claimant’s

economic loss zone. As the figure demonstrates, the share of new BEL claims accounted for by non‐

10
  Agriculture claims include aquaculture. All BEL offers to agriculture claimants that had filed SFJs are in
aquaculture‐related industries. Roughly 7 percent of all BEL claimants in these industries had signed SFJs.


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GCCF participants in Zones C/D alone has increased from less than 15% in June 2012 to more than 60%

in February 2013. Combined with non‐GCCF participants in Zones A/B, non‐GCCF participants now

account for more than 80% of new BEL claimants.

        29.       In sum, the high frequency of claims from business claimants that had not signed SFJs,

the increasing share of claims from Zone D, and the increasing share of new BEL claims from claimants

that did not participate in GCCF indicates that CSSP’s reliance on flawed and incomplete BEL data is

attracting new claimants that had not previously claimed spill related harm by participating in GCCF, and

claimants from areas remote from the spill.

D.      ADDITIONAL ANALYSIS OF GROUP 1 CLAIMS

        30.       CSSP data indicate that by December 1, 2012, claimants from Group 1 industries

(construction, professional services, and agriculture) had received 634 BEL offers with a combined value

of $191 million. This reflects 27.6% of all BEL offers and 37.3% of the value of all BEL offers made before

December 1, 2012. Tables 6 and 7 provide additional analysis of BEL claims from Group 1 industries.

                 Table 6 identifies BEL claims in Group 1 industries filed by Class Counsel law firms as of

                  November 8, 2012 and March 3, 2013.

                 Table 7 identifies the 25 law firms that have filed the most BEL claims from Group 1

                  industries.




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I declare under penalties of perjury that the foregoing is a true and correct statement of my analysis and
opinions.



                                                         _________________________________
                                                                      Hal Sider

Dated: March 14, 2013




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Table 1
            Percent of Offers that Meet an Indicator of Flawed and Incomplete Data and
                       Percent of Claims with Disproportionately Large Offer

                                                                        Percent that Meet an    Percent with
                                                                         Indicator of Flawed Disproportionately
          Industry                                          Offers      and Incomplete Data      Large Offer

          Agriculture                                          70                99%                   77%
          Professional Services                               274                85%                   39%
          Construction                                        325                84%                   54%
          Real Estate                                         276                82%                   39%
          Wholesale Trade                                      86                70%                   47%
          Manufacturing                                       117                64%                   38%
          Retail Trade                                        304                61%                   32%
          Health Care                                         155                55%                   17%
          Hotels and Motels                                   117                51%                   10%
          Bars and Restaurants                                233                22%                   15%
          All Other Industries                                357                71%                   32%

          Total                                             2,314                68%                   35%



          Source: Data from CSSP workbooks for BEL claims with final offers exceeding $75,000 as of March 4,
                  2013 made available to the parties under the provisions of the Settlement Agreement.
          Notes: Claims that Meet an Indicator of Flawed and Incomplete Data are those which meet at least
                 one of the three indicators using 2009 data.
                     Disproportionately large offers are defined as those in which claimant’s 2010 variable profit
                     implied by the BEL offer exceeds its variable profit in the benchmark period by more than
                     25%. A claimant’s 2010 variable profit implied by the BEL offer is defined as the sum of (i)
                     actual 2010 variable profit and (ii) BEL base compensation offer (which excludes RTP).
                     Disproportionately large offers are identified by comparing implied 2010 variable profit and
                     benchmark variable profit based on either an annual or May‐December basis.




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Table 3
                                           Current Status of CSSP BEL Claims

                                                                         Oustanding Claims

                                                                                Under
                Industry                    Total Claims        Total          Review        Incomplete         Denied           Offers

Agriculture                                            785              681            553              127              17               87
                                                   100.0%            86.7%           70.5%           16.2%             2.2%          11.1%

Professional Services                                3,263           2,534           1,702              831             168               562
                                                   100.0%            77.6%           52.2%           25.5%             5.1%          17.2%

Construction                                         5,364           4,419           2,831            1,588             349               596
                                                   100.0%            82.4%           52.8%           29.6%             6.5%          11.1%

Real Estate                                          6,107           4,738           2,924            1,814             494               875
                                                   100.0%            77.6%           47.9%           29.7%             8.1%          14.3%

Wholesale Trade                                      1,465           1,202             884              317             122               142
                                                   100.0%            82.0%           60.4%           21.7%             8.3%           9.7%

Manufacturing                                        1,386           1,094             745              349             107               185
                                                   100.0%            78.9%           53.7%           25.2%             7.7%          13.4%

Retail Trade                                         5,120           4,087           2,410            1,677             492               541
                                                   100.0%            79.8%           47.1%           32.8%             9.6%          10.6%

Health Care                                          1,654           1,278             836              442             120               256
                                                   100.0%            77.3%           50.5%           26.7%             7.2%          15.5%

Hotels and Motels                                    1,308           1,005             568              438             134               168
                                                   100.0%            76.9%           43.4%           33.5%           10.3%           12.8%

Bars and Restaurants                                 3,053           2,236           1,406              830             396               421
                                                   100.0%            73.3%           46.1%           27.2%           13.0%           13.8%

All Other Industries                               10,610            8,276           5,297            2,979           1,219          1,115
                                                   100.0%            78.0%           49.9%           28.1%           11.5%           10.5%

Total                                              40,115           31,550          20,157          11,393            3,617          4,948
                                                   100.0%            78.6%           50.2%           28.4%             9.0%          12.3%


Source: CSSP weekly electronic data files as of March 4, 2013 made available to the parties under the provisions of the Settlement
Agreement.
Notes: Outstanding and denied CSSP claimants with missing industry information pro rated to industries based on observed industry
distribution. Denied claims include eligible claims with $0 final offer.




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Table 4
                                                    Current CSSP BEL Offers

                                                                    Number of Offers                      Amount of Offers

                                                                 Number of       Percentage           Value           Percentage
                                Industry                           Offers         of Total           ($ MM)            of Total

             Agriculture                                              87              1.8%            $52.2                4.5%
             Professional Services                                   562              11.4%           $156.4              13.4%
             Construction                                            596              12.0%           $209.6              18.0%
             Real Estate                                             875              17.7%           $105.9               9.1%
             Wholesale Trade                                         142              2.9%            $50.7                4.4%
             Manufacturing                                           185              3.7%            $90.0                7.7%
             Retail Trade                                            541              10.9%           $122.4              10.5%
             Health Care                                             256              5.2%            $51.7                4.4%
             Hotels and Motels                                       168              3.4%            $60.4                5.2%
             Bars and Restaurants                                    421              8.5%            $82.2                7.1%
             All Other Industries                                   1,115             22.5%           $182.2              15.7%

             Total                                                  4,948             100.0%         $1,163.7           100.0%


             Source: CSSP weekly electronic data files as of March 4, 2013 made available to the parties under the
             provisions of the Settlement Agreement.




Table 5
                                                  BEL Offers Matched to SFJ Data

                                                              Offers Above $500,000                         All BEL Offers


                                                                    Offers                                     Offers
                                                                  Matched to                                 Matched to
                         Industry                    Offers          SFJ        % of Total       Offers         SFJ          % of Total
          Professional Services                        76             2           2.6%            562            33            5.9%
          Manufacturing                                33             1           3.0%            185            16            8.6%
          Agriculture                                  25             1           4.0%             87            1             1.1%
          Construction                                 92             5           5.4%            596            50            8.4%
          Health Care                                  21             2           9.5%            256            12            4.7%
          Wholesale Trade                              28             4           14.3%           142            16            11.3%
          Real Estate                                  31             9           29.0%           875            92            10.5%
          Hotels and Motels                            40             13          32.5%           168            61            36.3%
          Bars and Restaurants                         42             15          35.7%           421           113            26.8%
          Retail Trade                                 64             24          37.5%           541            94            17.4%
          All Other Industries                         74             30          40 5%          1,115          148            13.3%

          All CSSP BEL Offers                         526             106         20 2%          4,948          636            12.9%

          Sources: CSSP weekly electronic data files as of March 4, 2013 made available to the parties under the provisions of the
          Settlement Agreement; MDL 2179 Short Form Joinder data as of March 16, 2012.




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Table 7
                 Top 25 Law Firms by Number of BEL Claims Submitted in Group 1 Industries

                                                                                           Group 1 Industries
           No.                             Law Firm                                 Claims     Offers       Amount
                                                                                  Submitted Received Offered ($K)

      1           Cunningham Bounds, LLC                                              226        76       27,109
      2           Barton Smith, PL                                                    152        35        2,151
      3           Lyons & Farrar, P.A.                                                145        17        3,187
      4           E.J. Saad Law Firm                                                  116        29       20,462
      5           Westerfield, Janoush & Bell, P.A.                                   111        42       12,678
      6           Motley Rice, LLC                                                     93        26        4,194
      7           Reeves & Mestayer, PLLC                                              79        15        9,490
      8           Diliberto & Kirin, L.L.C.                                            77        22        8,594
      9           Berntsson, Ittersagen, Gunderson & Wideikis, LLP                     75        11          781
      10          Beasley, Allen, Crow, Methvin, Portis & Miles, PC                    72        24        2,167
      11          Levin, Papantonio, Thomas, Mitchell, Rafferty & Proctor, P.A.        64        19        4,579
      12          Ryan Mynard, Attorney at Law, PA                                     64        17        4,832
      13          Danziger & De Llano, LLP                                             63         7          779
      14          Restivo & Reilly, LLC                                                59        16        3,208
      15          Krupnick Campbell Malone et al.                                      50         6          698
      16          Shelby Roden, LLC                                                    50        15        4,380
      17          Law Office of John B. Donnes, III                                    48         1           58
      18          The Law Offices of Salman and Associates, LLC                        48         8          390
      19          Williamson & Rusnak                                                  38         3          101
      20          Baron & Budd, P.C.                                                   37        10        7,014
      21          Brent Coon & Associates                                              37         3          169
      22          Aylstock, Witkin, Kreis & Overholtz, PLLC                            36         4          581
      23          Williams, Kherkher, Hart & Bounds, L.L.P.                            36        10        1,518
      24          Lundy, Lundy, Soileau & South, L.L.P.                                34        10        2,917
      25          Couhig Partners, LLC                                                 31         7        6,694

                  Missing/Unrepresented by Law Firm                                 2,699       415       96,511
                  All Other Law Firms                                               1,852       397      192,960

                  Total                                                             6,392      1,245     418,203

      Source: CSSP weekly electronic data files as of March 4, 2013 made available to the parties under the
              provisions of the Settlement Agreement.
      Note: Group 1 Industries include Agriculture, Construction, and Professional Services. Does not include
              claims submitted with missing industry information.




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                          APPENDIX 1




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                                          Materials Relied Upon

Documents

Deepwater Horizon Economic and Property Damages Settlement Agreement As Amended on May 2,
      2012

BP’s In Camera Submission dated January 23, 2013, including letter from Richard C. Godfrey, PowerPoint
         slides “Economic And Property Damages Settlement – Business Economic Loss (“BEL”)
         Compensation Issue”, Declaration of David Hall, Declaration of Xavier Oustalniol, and
         Declaration of Charles E. Finch

BP’s In Camera Motion to Reverse and Set Aside the Claims Administrator’s January 15, 2013 Policy
         Decision Concerning the Business Economic Loss Framework, February 18, 2013

Declaration of J. Lester Alexander, III, February 18, 2013

Declaration of Professor J. Richard Dietrich, February 18, 2013

Supplemental Declaration of Charles E. Finch, February 18, 2013

Supplemental Declaration of David A. Hall, February 18, 2013

Supplemental Declaration of Xavier Oustalniol, February 18, 2013

Declaration of Professor A. Mitchell Polinsky, February 18, 2013

Declaration of Jeffery O. Rose, February 18, 2013

Declaration of Hal Sider, February 18, 2013

Declaration of Roman L. Weil, February 18, 2013

Court’s Review of Issue from Panel (Matching of Revenue and Expenses) dated March 5, 2013

Data

CSSP claim‐level data as of March 4, 2013 (CSSP data field request ‐ Priority items_130304v3.xlsb)

CSSP event‐level data as of March 4, 2013 (Payment & Notice History Report_130304.xlsx)

GCCF payment data as of September 20, 2012 (payment_09_20_2012.xlsx)

GCCF Phase II status data as of May 31, 2012 (unpaid_not_denied_vs_denied_05_31_2012.xlsx)

GCCF EAP status data as of December 23, 2010
       (GCCF_EAP_Claimants_Report_12_23_2010_with_Business_Type_and_Geography)




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Deepwater Horizon MDL Litigation Short Form Joinder data transcribed by Edox (SFJComplete03‐16‐
      2012Update1.xlsx)

US Census NAICS descriptions (naics07.xlsx)

GIS mapping data from ESRI ArcGIS Desktop 10 (used to calculate miles to the coast reported in Table 4)




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                    CSSP BEL Claim Files Processed or Evaluated




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                          APPENDIX 2




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                                  NAICS Codes and Industry Categories


                              6ͲDigit
  Group          Category   NAICS Code                                     NAICS Description

Group 1   Agriculture        111110      Soybean Farming
                             111120      Oilseed (except Soybean) Farming
                             111130      Dry Pea and Bean Farming
                             111140      Wheat Farming
                             111150      Corn Farming
                             111160      Rice Farming
                             111191      Oilseed and Grain Combination Farming
                             111199      All Other Grain Farming
                             111211      Potato Farming
                             111219      Other Vegetable (except Potato) and Melon Farming
                             111310      Orange Groves
                             111320      Citrus (except Orange) Groves
                             111331      Apple Orchards
                             111332      Grape Vineyards
                             111333      Strawberry Farming
                             111334      Berry (except Strawberry) Farming
                             111335      Tree Nut Farming
                             111336      Fruit and Tree Nut Combination Farming
                             111339      Other Noncitrus Fruit Farming
                             111411      Mushroom Production
                             111419      Other Food Crops Grown Under Cover
                             111421      Nursery and Tree Production
                             111422      Floriculture Production
                             111910      Tobacco Farming
                             111920      Cotton Farming
                             111930      Sugarcane Farming
                             111940      Hay Farming
                             111991      Sugar Beet Farming
                             111992      Peanut Farming
                             111998      All Other Miscellaneous Crop Farming
                             112111      Beef Cattle Ranching and Farming
                             112112      Cattle Feedlots
                             112120      Dairy Cattle and Milk Production
                             112130      DualͲPurpose Cattle Ranching and Farming
                             112210      Hog and Pig Farming
                             112310      Chicken Egg Production
                             112320      Broilers and Other Meat Type Chicken Production
                             112330      Turkey Production
                             112340      Poultry Hatcheries
                             112390      Other Poultry Production
                             112410      Sheep Farming
                             112420      Goat Farming
                             112511      Finfish Farming and Fish Hatcheries
                             112512      Shellfish Farming
                             112519      Other Aquaculture
                             112910      Apiculture
                             112920      Horses and Other Equine Production
                             112930      FurͲBearing Animal and Rabbit Production
                             112990      All Other Animal Production
                             113110      Timber Tract Operations
                             113210      Forest Nurseries and Gathering of Forest Products
                             113310      Logging
                             115111      Cotton Ginning
                             115112      Soil Preparation, Planting, and Cultivating
                             115113      Crop Harvesting, Primarily by Machine
                             115114      Postharvest Crop Activities (except Cotton Ginning)
                                                           29
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                                    6ͲDigit
  Group          Category         NAICS Code                                    NAICS Description

                                   115115      Farm Labor Contractors and Crew Leaders
                                   115116      Farm Management Services
                                   115210      Support Activities for Animal Production
                                   115310      Support Activities for Forestry
Group 1   Construction             236115      New SingleͲFamily Housing Construction (except Operative Builders)
                                   236116      New Multifamily Housing Construction (except Operative Builders)
                                   236117      New Housing Operative Builders
                                   236118      Residential Remodelers
                                   236210      Industrial Building Construction
                                   236220      Commercial and Institutional Building Construction
                                   237110      Water and Sewer Line and Related Structures Construction
                                   237120      Oil and Gas Pipeline and Related Structures Construction
                                   237130      Power and Communication Line and Related Structures Construction
                                   237210      Land Subdivision
                                   237310      Highway, Street, and Bridge Construction
                                   237990      Other Heavy and Civil Engineering Construction
                                   238110      Poured Concrete Foundation and Structure Contractors
                                   238120      Structural Steel and Precast Concrete Contractors
                                   238130      Framing Contractors
                                   238140      Masonry Contractors
                                   238150      Glass and Glazing Contractors
                                   238160      Roofing Contractors
                                   238170      Siding Contractors
                                   238190      Other Foundation, Structure, and Building Exterior Contractors
                                   238210      Electrical Contractors and Other Wiring Installation Contractors
                                   238220      Plumbing, Heating, and AirͲConditioning Contractors
                                   238290      Other Building Equipment Contractors
                                   238310      Drywall and Insulation Contractors
                                   238320      Painting and Wall Covering Contractors
                                   238330      Flooring Contractors
                                   238340      Tile and Terrazzo Contractors
                                   238350      Finish Carpentry Contractors
                                   238390      Other Building Finishing Contractors
                                   238910      Site Preparation Contractors
                                   238990      All Other Specialty Trade Contractors
Group 1   Professional Services    541110      Offices of Lawyers
                                   541120      Offices of Notaries
                                   541191      Title Abstract and Settlement Offices
                                   541199      All Other Legal Services
                                   541211      Offices of Certified Public Accountants
                                   541213      Tax Preparation Services
                                   541214      Payroll Services
                                   541219      Other Accounting Services
                                   541310      Architectural Services
                                   541320      Landscape Architectural Services
                                   541330      Engineering Services
                                   541340      Drafting Services
                                   541350      Building Inspection Services
                                   541360      Geophysical Surveying and Mapping Services
                                   541370      Surveying and Mapping (except Geophysical) Services
                                   541380      Testing Laboratories
                                   541410      Interior Design Services
                                   541420      Industrial Design Services
                                   541430      Graphic Design Services
                                   541490      Other Specialized Design Services
                                   541511      Custom Computer Programming Services
                                   541512      Computer Systems Design Services
                                   541513      Computer Facilities Management Services
                                                               30
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  Group         Category   NAICS Code                                   NAICS Description

                            541519      Other Computer Related Services
                            541611      Administrative Management and General Management Consulting Services
                            541612      Human Resources Consulting Services
                            541613      Marketing Consulting Services
                            541614      Process, Physical Distribution, and Logistics Consulting Services
                            541618      Other Management Consulting Services
                            541620      Environmental Consulting Services
                            541690      Other Scientific and Technical Consulting Services
                            541711      Research and Development in Biotechnology
                            541712      Research and Development in the Physical, Engineering, and Life Scienc
                            541720      Research and Development in the Social Sciences and Humanities
                            541810      Advertising Agencies
                            541820      Public Relations Agencies
                            541830      Media Buying Agencies
                            541840      Media Representatives
                            541850      Display Advertising
                            541860      Direct Mail Advertising
                            541870      Advertising Material Distribution Services
                            541890      Other Services Related to Advertising
                            541910      Marketing Research and Public Opinion Polling
                            541921      Photography Studios, Portrait
                            541922      Commercial Photography
                            541930      Translation and Interpretation Services
                            541940      Veterinary Services
                            541990      All Other Professional, Scientific, and Technical Services
Group 2   Manufacturing     311111      Dog and Cat Food Manufacturing
                            311119      Other Animal Food Manufacturing
                            311211      Flour Milling
                            311212      Rice Milling
                            311213      Malt Manufacturing
                            311221      Wet Corn Milling
                            311222      Soybean Processing
                            311223      Other Oilseed Processing
                            311225      Fats and Oils Refining and Blending
                            311230      Breakfast Cereal Manufacturing
                            311311      Sugarcane Mills
                            311312      Cane Sugar Refining
                            311313      Beet Sugar Manufacturing
                            311320      Chocolate and Confectionery Manufacturing from Cacao Beans
                            311330      Confectionery Manufacturing from Purchased Chocolate
                            311340      Nonchocolate Confectionery Manufacturing
                            311411      Frozen Fruit, Juice, and Vegetable Manufacturing
                            311412      Frozen Specialty Food Manufacturing
                            311421      Fruit and Vegetable Canning
                            311422      Specialty Canning
                            311423      Dried and Dehydrated Food Manufacturing
                            311511      Fluid Milk Manufacturing
                            311512      Creamery Butter Manufacturing
                            311513      Cheese Manufacturing
                            311514      Dry, Condensed, and Evaporated Dairy Product Manufacturing
                            311520      Ice Cream and Frozen Dessert Manufacturing
                            311611      Animal (except Poultry) Slaughtering
                            311612      Meat Processed from Carcasses
                            311613      Rendering and Meat Byproduct Processing
                            311615      Poultry Processing
                            311811      Retail Bakeries
                            311812      Commercial Bakeries
                            311813      Frozen Cakes, Pies, and Other Pastries Manufacturing
                                                        31
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Group    Category   NAICS Code                                   NAICS Description

                     311821      Cookie and Cracker Manufacturing
                     311822      Flour Mixes and Dough Manufacturing from Purchased Flour
                     311823      Dry Pasta Manufacturing
                     311830      Tortilla Manufacturing
                     311911      Roasted Nuts and Peanut Butter Manufacturing
                     311919      Other Snack Food Manufacturing
                     311920      Coffee and Tea Manufacturing
                     311930      Flavoring Syrup and Concentrate Manufacturing
                     311941      Mayonnaise, Dressing, and Other Prepared Sauce Manufacturing
                     311942      Spice and Extract Manufacturing
                     311991      Perishable Prepared Food Manufacturing
                     311999      All Other Miscellaneous Food Manufacturing
                     312111      Soft Drink Manufacturing
                     312112      Bottled Water Manufacturing
                     312113      Ice Manufacturing
                     312120      Breweries
                     312130      Wineries
                     312140      Distilleries
                     312210      Tobacco Stemming and Redrying
                     312221      Cigarette Manufacturing
                     312229      Other Tobacco Product Manufacturing
                     313111      Yarn Spinning Mills
                     313112      Yarn Texturizing, Throwing, and Twisting Mills
                     313113      Thread Mills
                     313210      Broadwoven Fabric Mills
                     313221      Narrow Fabric Mills
                     313222      Schiffli Machine Embroidery
                     313230      Nonwoven Fabric Mills
                     313241      Weft Knit Fabric Mills
                     313249      Other Knit Fabric and Lace Mills
                     313311      Broadwoven Fabric Finishing Mills
                     313312      Textile and Fabric Finishing (except Broadwoven Fabric) Mills
                     313320      Fabric Coating Mills
                     314110      Carpet and Rug Mills
                     314121      Curtain and Drapery Mills
                     314129      Other Household Textile Product Mills
                     314911      Textile Bag Mills
                     314912      Canvas and Related Product Mills
                     314991      Rope, Cordage, and Twine Mills
                     314992      Tire Cord and Tire Fabric Mills
                     314999      All Other Miscellaneous Textile Product Mills
                     315111      Sheer Hosiery Mills
                     315119      Other Hosiery and Sock Mills
                     315191      Outerwear Knitting Mills
                     315192      Underwear and Nightwear Knitting Mills
                     315211      Men's and Boys' Cut and Sew Apparel Contractors
                     315212      Women's, Girls', and Infants' Cut and Sew Apparel Contractors
                     315221      Men's and Boys' Cut and Sew Underwear and Nightwear Manufacturing
                     315222      Men's and Boys' Cut and Sew Suit, Coat, and Overcoat Manufacturing
                     315223      Men's and Boys' Cut and Sew Shirt (except Work Shirt) Manufacturing
                     315224      Men's and Boys' Cut and Sew Trouser, Slack, and Jean Manufacturing
                     315225      Men's and Boys' Cut and Sew Work Clothing Manufacturing
                     315228      Men's and Boys' Cut and Sew Other Outerwear Manufacturing
                     315231      Women's and Girls' Cut and Sew Lingerie, Loungewear, and Nightwear Man
                     315232      Women's and Girls' Cut and Sew Blouse and Shirt Manufacturing
                     315233      Women's and Girls' Cut and Sew Dress Manufacturing
                     315234      Women's and Girls' Cut and Sew Suit, Coat, Tailored Jacket, and Skirt
                     315239      Women's and Girls' Cut and Sew Other Outerwear Manufacturing
                                                 32
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Group    Category   NAICS Code                                   NAICS Description

                     315291      Infants' Cut and Sew Apparel Manufacturing
                     315292      Fur and Leather Apparel Manufacturing
                     315299      All Other Cut and Sew Apparel Manufacturing
                     315991      Hat, Cap, and Millinery Manufacturing
                     315992      Glove and Mitten Manufacturing
                     315993      Men's and Boys' Neckwear Manufacturing
                     315999      Other Apparel Accessories and Other Apparel Manufacturing
                     316110      Leather and Hide Tanning and Finishing
                     316211      Rubber and Plastics Footwear Manufacturing
                     316212      House Slipper Manufacturing
                     316213      Men's Footwear (except Athletic) Manufacturing
                     316214      Women's Footwear (except Athletic) Manufacturing
                     316219      Other Footwear Manufacturing
                     316991      Luggage Manufacturing
                     316992      Women's Handbag and Purse Manufacturing
                     316993      Personal Leather Good (except Women's Handbag and Purse) Manufacturing
                     316999      All Other Leather Good and Allied Product Manufacturing
                     321113      Sawmills
                     321114      Wood Preservation
                     321211      Hardwood Veneer and Plywood Manufacturing
                     321212      Softwood Veneer and Plywood Manufacturing
                     321213      Engineered Wood Member (except Truss) Manufacturing
                     321214      Truss Manufacturing
                     321219      Reconstituted Wood Product Manufacturing
                     321911      Wood Window and Door Manufacturing
                     321912      Cut Stock, Resawing Lumber, and Planing
                     321918      Other Millwork (including Flooring)
                     321920      Wood Container and Pallet Manufacturing
                     321991      Manufactured Home (Mobile Home) Manufacturing
                     321992      Prefabricated Wood Building Manufacturing
                     321999      All Other Miscellaneous Wood Product Manufacturing
                     322110      Pulp Mills
                     322121      Paper (except Newsprint) Mills
                     322122      Newsprint Mills
                     322130      Paperboard Mills
                     322211      Corrugated and Solid Fiber Box Manufacturing
                     322212      Folding Paperboard Box Manufacturing
                     322213      Setup Paperboard Box Manufacturing
                     322214      Fiber Can, Tube, Drum, and Similar Products Manufacturing
                     322215      Nonfolding Sanitary Food Container Manufacturing
                     322221      Coated and Laminated Packaging Paper Manufacturing
                     322222      Coated and Laminated Paper Manufacturing
                     322223      Coated Paper Bag and Pouch Manufacturing
                     322224      Uncoated Paper and Multiwall Bag Manufacturing
                     322225      Laminated Aluminum Foil Manufacturing for Flexible Packaging Uses
                     322226      SurfaceͲCoated Paperboard Manufacturing
                     322231      DieͲCut Paper and Paperboard Office Supplies Manufacturing
                     322232      Envelope Manufacturing
                     322233      Stationery, Tablet, and Related Product Manufacturing
                     322291      Sanitary Paper Product Manufacturing
                     322299      All Other Converted Paper Product Manufacturing
                     323110      Commercial Lithographic Printing
                     323111      Commercial Gravure Printing
                     323112      Commercial Flexographic Printing
                     323113      Commercial Screen Printing
                     323114      Quick Printing
                     323115      Digital Printing
                     323116      Manifold Business Forms Printing
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                      6ͲDigit
Group    Category   NAICS Code                                    NAICS Description

                     323117      Books Printing
                     323118      Blankbook, Looseleaf Binders, and Devices Manufacturing
                     323119      Other Commercial Printing
                     323121      Tradebinding and Related Work
                     323122      Prepress Services
                     324110      Petroleum Refineries
                     324121      Asphalt Paving Mixture and Block Manufacturing
                     324122      Asphalt Shingle and Coating Materials Manufacturing
                     324191      Petroleum Lubricating Oil and Grease Manufacturing
                     324199      All Other Petroleum and Coal Products Manufacturing
                     325110      Petrochemical Manufacturing
                     325120      Industrial Gas Manufacturing
                     325131      Inorganic Dye and Pigment Manufacturing
                     325132      Synthetic Organic Dye and Pigment Manufacturing
                     325181      Alkalies and Chlorine Manufacturing
                     325182      Carbon Black Manufacturing
                     325188      All Other Basic Inorganic Chemical Manufacturing
                     325191      Gum and Wood Chemical Manufacturing
                     325192      Cyclic Crude and Intermediate Manufacturing
                     325193      Ethyl Alcohol Manufacturing
                     325199      All Other Basic Organic Chemical Manufacturing
                     325211      Plastics Material and Resin Manufacturing
                     325212      Synthetic Rubber Manufacturing
                     325221      Cellulosic Organic Fiber Manufacturing
                     325222      Noncellulosic Organic Fiber Manufacturing
                     325311      Nitrogenous Fertilizer Manufacturing
                     325312      Phosphatic Fertilizer Manufacturing
                     325314      Fertilizer (Mixing Only) Manufacturing
                     325320      Pesticide and Other Agricultural Chemical Manufacturing
                     325411      Medicinal and Botanical Manufacturing
                     325412      Pharmaceutical Preparation Manufacturing
                     325413      InͲVitro Diagnostic Substance Manufacturing
                     325414      Biological Product (except Diagnostic) Manufacturing
                     325510      Paint and Coating Manufacturing
                     325520      Adhesive Manufacturing
                     325611      Soap and Other Detergent Manufacturing
                     325612      Polish and Other Sanitation Good Manufacturing
                     325613      Surface Active Agent Manufacturing
                     325620      Toilet Preparation Manufacturing
                     325910      Printing Ink Manufacturing
                     325920      Explosives Manufacturing
                     325991      Custom Compounding of Purchased Resins
                     325992      Photographic Film, Paper, Plate, and Chemical Manufacturing
                     325998      All Other Miscellaneous Chemical Product and Preparation Manufacturing
                     326111      Plastics Bag and Pouch Manufacturing
                     326112      Plastics Packaging Film and Sheet (including Laminated) Manufacturing
                     326113      Unlaminated Plastics Film and Sheet (except Packaging) Manufacturing
                     326121      Unlaminated Plastics Profile Shape Manufacturing
                     326122      Plastics Pipe and Pipe Fitting Manufacturing
                     326130      Laminated Plastics Plate, Sheet (except Packaging), and Shape Manufact
                     326140      Polystyrene Foam Product Manufacturing
                     326150      Urethane and Other Foam Product (except Polystyrene) Manufacturing
                     326160      Plastics Bottle Manufacturing
                     326191      Plastics Plumbing Fixture Manufacturing
                     326192      Resilient Floor Covering Manufacturing
                     326199      All Other Plastics Product Manufacturing
                     326211      Tire Manufacturing (except Retreading)
                     326212      Tire Retreading
                                                 34
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                      6ͲDigit
Group    Category   NAICS Code                                   NAICS Description

                     326220      Rubber and Plastics Hoses and Belting Manufacturing
                     326291      Rubber Product Manufacturing for Mechanical Use
                     326299      All Other Rubber Product Manufacturing
                     327111      Vitreous China Plumbing Fixture and China and Earthenware Bathroom Acc
                     327112      Vitreous China, Fine Earthenware, and Other Pottery Product Manufactur
                     327113      Porcelain Electrical Supply Manufacturing
                     327121      Brick and Structural Clay Tile Manufacturing
                     327122      Ceramic Wall and Floor Tile Manufacturing
                     327123      Other Structural Clay Product Manufacturing
                     327124      Clay Refractory Manufacturing
                     327125      Nonclay Refractory Manufacturing
                     327211      Flat Glass Manufacturing
                     327212      Other Pressed and Blown Glass and Glassware Manufacturing
                     327213      Glass Container Manufacturing
                     327215      Glass Product Manufacturing Made of Purchased Glass
                     327310      Cement Manufacturing
                     327320      ReadyͲMix Concrete Manufacturing
                     327331      Concrete Block and Brick Manufacturing
                     327332      Concrete Pipe Manufacturing
                     327390      Other Concrete Product Manufacturing
                     327410      Lime Manufacturing
                     327420      Gypsum Product Manufacturing
                     327910      Abrasive Product Manufacturing
                     327991      Cut Stone and Stone Product Manufacturing
                     327992      Ground or Treated Mineral and Earth Manufacturing
                     327993      Mineral Wool Manufacturing
                     327999      All Other Miscellaneous Nonmetallic Mineral Product Manufacturing
                     331111      Iron and Steel Mills
                     331112      Electrometallurgical Ferroalloy Product Manufacturing
                     331210      Iron and Steel Pipe and Tube Manufacturing from Purchased Steel
                     331221      Rolled Steel Shape Manufacturing
                     331222      Steel Wire Drawing
                     331311      Alumina Refining
                     331312      Primary Aluminum Production
                     331314      Secondary Smelting and Alloying of Aluminum
                     331315      Aluminum Sheet, Plate, and Foil Manufacturing
                     331316      Aluminum Extruded Product Manufacturing
                     331319      Other Aluminum Rolling and Drawing
                     331411      Primary Smelting and Refining of Copper
                     331419      Primary Smelting and Refining of Nonferrous Metal (except Copper and A
                     331421      Copper Rolling, Drawing, and Extruding
                     331422      Copper Wire (except Mechanical) Drawing
                     331423      Secondary Smelting, Refining, and Alloying of Copper
                     331491      Nonferrous Metal (except Copper and Aluminum) Rolling, Drawing, and Ex
                     331492      Secondary Smelting, Refining, and Alloying of Nonferrous Metal (except
                     331511      Iron Foundries
                     331512      Steel Investment Foundries
                     331513      Steel Foundries (except Investment)
                     331521      Aluminum DieͲCasting Foundries
                     331522      Nonferrous (except Aluminum) DieͲCasting Foundries
                     331524      Aluminum Foundries (except DieͲCasting)
                     331525      Copper Foundries (except DieͲCasting)
                     331528      Other Nonferrous Foundries (except DieͲCasting)
                     332111      Iron and Steel Forging
                     332112      Nonferrous Forging
                     332114      Custom Roll Forming
                     332115      Crown and Closure Manufacturing
                     332116      Metal Stamping
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                      6ͲDigit
Group    Category   NAICS Code                                  NAICS Description

                     332117      Powder Metallurgy Part Manufacturing
                     332211      Cutlery and Flatware (except Precious) Manufacturing
                     332212      Hand and Edge Tool Manufacturing
                     332213      Saw Blade and Handsaw Manufacturing
                     332214      Kitchen Utensil, Pot, and Pan Manufacturing
                     332311      Prefabricated Metal Building and Component Manufacturing
                     332312      Fabricated Structural Metal Manufacturing
                     332313      Plate Work Manufacturing
                     332321      Metal Window and Door Manufacturing
                     332322      Sheet Metal Work Manufacturing
                     332323      Ornamental and Architectural Metal Work Manufacturing
                     332410      Power Boiler and Heat Exchanger Manufacturing
                     332420      Metal Tank (Heavy Gauge) Manufacturing
                     332431      Metal Can Manufacturing
                     332439      Other Metal Container Manufacturing
                     332510      Hardware Manufacturing
                     332611      Spring (Heavy Gauge) Manufacturing
                     332612      Spring (Light Gauge) Manufacturing
                     332618      Other Fabricated Wire Product Manufacturing
                     332710      Machine Shops
                     332721      Precision Turned Product Manufacturing
                     332722      Bolt, Nut, Screw, Rivet, and Washer Manufacturing
                     332811      Metal Heat Treating
                     332812      Metal Coating, Engraving (except Jewelry and Silverware), and Allied S
                     332813      Electroplating, Plating, Polishing, Anodizing, and Coloring
                     332911      Industrial Valve Manufacturing
                     332912      Fluid Power Valve and Hose Fitting Manufacturing
                     332913      Plumbing Fixture Fitting and Trim Manufacturing
                     332919      Other Metal Valve and Pipe Fitting Manufacturing
                     332991      Ball and Roller Bearing Manufacturing
                     332992      Small Arms Ammunition Manufacturing
                     332993      Ammunition (except Small Arms) Manufacturing
                     332994      Small Arms Manufacturing
                     332995      Other Ordnance and Accessories Manufacturing
                     332996      Fabricated Pipe and Pipe Fitting Manufacturing
                     332997      Industrial Pattern Manufacturing
                     332998      Enameled Iron and Metal Sanitary Ware Manufacturing
                     332999      All Other Miscellaneous Fabricated Metal Product Manufacturing
                     333111      Farm Machinery and Equipment Manufacturing
                     333112      Lawn and Garden Tractor and Home Lawn and Garden Equipment Manufacturi
                     333120      Construction Machinery Manufacturing
                     333131      Mining Machinery and Equipment Manufacturing
                     333132      Oil and Gas Field Machinery and Equipment Manufacturing
                     333210      Sawmill and Woodworking Machinery Manufacturing
                     333220      Plastics and Rubber Industry Machinery Manufacturing
                     333291      Paper Industry Machinery Manufacturing
                     333292      Textile Machinery Manufacturing
                     333293      Printing Machinery and Equipment Manufacturing
                     333294      Food Product Machinery Manufacturing
                     333295      Semiconductor Machinery Manufacturing
                     333298      All Other Industrial Machinery Manufacturing
                     333311      Automatic Vending Machine Manufacturing
                     333312      Commercial Laundry, Drycleaning, and Pressing Machine Manufacturing
                     333313      Office Machinery Manufacturing
                     333314      Optical Instrument and Lens Manufacturing
                     333315      Photographic and Photocopying Equipment Manufacturing
                     333319      Other Commercial and Service Industry Machinery Manufacturing
                     333411      Air Purification Equipment Manufacturing
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Group    Category   NAICS Code                                   NAICS Description

                     333412      Industrial and Commercial Fan and Blower Manufacturing
                     333414      Heating Equipment (except Warm Air Furnaces) Manufacturing
                     333415      AirͲConditioning and Warm Air Heating Equipment and Commercial and Ind
                     333511      Industrial Mold Manufacturing
                     333512      Machine Tool (Metal Cutting Types) Manufacturing
                     333513      Machine Tool (Metal Forming Types) Manufacturing
                     333514      Special Die and Tool, Die Set, Jig, and Fixture Manufacturing
                     333515      Cutting Tool and Machine Tool Accessory Manufacturing
                     333516      Rolling Mill Machinery and Equipment Manufacturing
                     333518      Other Metalworking Machinery Manufacturing
                     333611      Turbine and Turbine Generator Set Units Manufacturing
                     333612      Speed Changer, Industrial HighͲSpeed Drive, and Gear Manufacturing
                     333613      Mechanical Power Transmission Equipment Manufacturing
                     333618      Other Engine Equipment Manufacturing
                     333911      Pump and Pumping Equipment Manufacturing
                     333912      Air and Gas Compressor Manufacturing
                     333913      Measuring and Dispensing Pump Manufacturing
                     333921      Elevator and Moving Stairway Manufacturing
                     333922      Conveyor and Conveying Equipment Manufacturing
                     333923      Overhead Traveling Crane, Hoist, and Monorail System Manufacturing
                     333924      Industrial Truck, Tractor, Trailer, and Stacker Machinery Manufacturin
                     333991      PowerͲDriven Handtool Manufacturing
                     333992      Welding and Soldering Equipment Manufacturing
                     333993      Packaging Machinery Manufacturing
                     333994      Industrial Process Furnace and Oven Manufacturing
                     333995      Fluid Power Cylinder and Actuator Manufacturing
                     333996      Fluid Power Pump and Motor Manufacturing
                     333997      Scale and Balance Manufacturing
                     333999      All Other Miscellaneous General Purpose Machinery Manufacturing
                     334111      Electronic Computer Manufacturing
                     334112      Computer Storage Device Manufacturing
                     334113      Computer Terminal Manufacturing
                     334119      Other Computer Peripheral Equipment Manufacturing
                     334210      Telephone Apparatus Manufacturing
                     334220      Radio and Television Broadcasting and Wireless Communications Equipmen
                     334290      Other Communications Equipment Manufacturing
                     334310      Audio and Video Equipment Manufacturing
                     334411      Electron Tube Manufacturing
                     334412      Bare Printed Circuit Board Manufacturing
                     334413      Semiconductor and Related Device Manufacturing
                     334414      Electronic Capacitor Manufacturing
                     334415      Electronic Resistor Manufacturing
                     334416      Electronic Coil, Transformer, and Other Inductor Manufacturing
                     334417      Electronic Connector Manufacturing
                     334418      Printed Circuit Assembly (Electronic Assembly) Manufacturing
                     334419      Other Electronic Component Manufacturing
                     334510      Electromedical and Electrotherapeutic Apparatus Manufacturing
                     334511      Search, Detection, Navigation, Guidance, Aeronautical, and Nautical Sy
                     334512      Automatic Environmental Control Manufacturing for Residential, Commerc
                     334513      Instruments and Related Products Manufacturing for Measuring, Displayi
                     334514      Totalizing Fluid Meter and Counting Device Manufacturing
                     334515      Instrument Manufacturing for Measuring and Testing Electricity and Ele
                     334516      Analytical Laboratory Instrument Manufacturing
                     334517      Irradiation Apparatus Manufacturing
                     334518      Watch, Clock, and Part Manufacturing
                     334519      Other Measuring and Controlling Device Manufacturing
                     334611      Software Reproducing
                     334612      Prerecorded Compact Disc (except Software), Tape, and Record Reproduci
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Group    Category   NAICS Code                                   NAICS Description

                     334613      Magnetic and Optical Recording Media Manufacturing
                     335110      Electric Lamp Bulb and Part Manufacturing
                     335121      Residential Electric Lighting Fixture Manufacturing
                     335122      Commercial, Industrial, and Institutional Electric Lighting Fixture Ma
                     335129      Other Lighting Equipment Manufacturing
                     335211      Electric Housewares and Household Fan Manufacturing
                     335212      Household Vacuum Cleaner Manufacturing
                     335221      Household Cooking Appliance Manufacturing
                     335222      Household Refrigerator and Home Freezer Manufacturing
                     335224      Household Laundry Equipment Manufacturing
                     335228      Other Major Household Appliance Manufacturing
                     335311      Power, Distribution, and Specialty Transformer Manufacturing
                     335312      Motor and Generator Manufacturing
                     335313      Switchgear and Switchboard Apparatus Manufacturing
                     335314      Relay and Industrial Control Manufacturing
                     335911      Storage Battery Manufacturing
                     335912      Primary Battery Manufacturing
                     335921      Fiber Optic Cable Manufacturing
                     335929      Other Communication and Energy Wire Manufacturing
                     335931      CurrentͲCarrying Wiring Device Manufacturing
                     335932      NoncurrentͲCarrying Wiring Device Manufacturing
                     335991      Carbon and Graphite Product Manufacturing
                     335999      All Other Miscellaneous Electrical Equipment and Component Manufacturi
                     336111      Automobile Manufacturing
                     336112      Light Truck and Utility Vehicle Manufacturing
                     336120      Heavy Duty Truck Manufacturing
                     336211      Motor Vehicle Body Manufacturing
                     336212      Truck Trailer Manufacturing
                     336213      Motor Home Manufacturing
                     336214      Travel Trailer and Camper Manufacturing
                     336311      Carburetor, Piston, Piston Ring, and Valve Manufacturing
                     336312      Gasoline Engine and Engine Parts Manufacturing
                     336321      Vehicular Lighting Equipment Manufacturing
                     336322      Other Motor Vehicle Electrical and Electronic Equipment Manufacturing
                     336330      Motor Vehicle Steering and Suspension Components (except Spring) Manuf
                     336340      Motor Vehicle Brake System Manufacturing
                     336350      Motor Vehicle Transmission and Power Train Parts Manufacturing
                     336360      Motor Vehicle Seating and Interior Trim Manufacturing
                     336370      Motor Vehicle Metal Stamping
                     336391      Motor Vehicle AirͲConditioning Manufacturing
                     336399      All Other Motor Vehicle Parts Manufacturing
                     336411      Aircraft Manufacturing
                     336412      Aircraft Engine and Engine Parts Manufacturing
                     336413      Other Aircraft Parts and Auxiliary Equipment Manufacturing
                     336414      Guided Missile and Space Vehicle Manufacturing
                     336415      Guided Missile and Space Vehicle Propulsion Unit and Propulsion Unit P
                     336419      Other Guided Missile and Space Vehicle Parts and Auxiliary Equipment M
                     336510      Railroad Rolling Stock Manufacturing
                     336611      Ship Building and Repairing
                     336612      Boat Building
                     336991      Motorcycle, Bicycle, and Parts Manufacturing
                     336992      Military Armored Vehicle, Tank, and Tank Component Manufacturing
                     336999      All Other Transportation Equipment Manufacturing
                     337110      Wood Kitchen Cabinet and Countertop Manufacturing
                     337121      Upholstered Household Furniture Manufacturing
                     337122      Nonupholstered Wood Household Furniture Manufacturing
                     337124      Metal Household Furniture Manufacturing
                     337125      Household Furniture (except Wood and Metal) Manufacturing
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  Group          Category   NAICS Code                                   NAICS Description

                             337127      Institutional Furniture Manufacturing
                             337129      Wood Television, Radio, and Sewing Machine Cabinet Manufacturing
                             337211      Wood Office Furniture Manufacturing
                             337212      Custom Architectural Woodwork and Millwork Manufacturing
                             337214      Office Furniture (except Wood) Manufacturing
                             337215      Showcase, Partition, Shelving, and Locker Manufacturing
                             337910      Mattress Manufacturing
                             337920      Blind and Shade Manufacturing
                             339112      Surgical and Medical Instrument Manufacturing
                             339113      Surgical Appliance and Supplies Manufacturing
                             339114      Dental Equipment and Supplies Manufacturing
                             339115      Ophthalmic Goods Manufacturing
                             339116      Dental Laboratories
                             339911      Jewelry (except Costume) Manufacturing
                             339912      Silverware and Hollowware Manufacturing
                             339913      Jewelers' Material and Lapidary Work Manufacturing
                             339914      Costume Jewelry and Novelty Manufacturing
                             339920      Sporting and Athletic Goods Manufacturing
                             339931      Doll and Stuffed Toy Manufacturing
                             339932      Game, Toy, and Children's Vehicle Manufacturing
                             339941      Pen and Mechanical Pencil Manufacturing
                             339942      Lead Pencil and Art Good Manufacturing
                             339943      Marking Device Manufacturing
                             339944      Carbon Paper and Inked Ribbon Manufacturing
                             339950      Sign Manufacturing
                             339991      Gasket, Packing, and Sealing Device Manufacturing
                             339992      Musical Instrument Manufacturing
                             339993      Fastener, Button, Needle, and Pin Manufacturing
                             339994      Broom, Brush, and Mop Manufacturing
                             339995      Burial Casket Manufacturing
                             339999      All Other Miscellaneous Manufacturing
Group 2   Real Estate        531110      Lessors of Residential Buildings and Dwellings
                             531120      Lessors of Nonresidential Buildings (except Miniwarehouses)
                             531130      Lessors of Miniwarehouses and SelfͲStorage Units
                             531190      Lessors of Other Real Estate Property
                             531210      Offices of Real Estate Agents and Brokers
                             531311      Residential Property Managers
                             531312      Nonresidential Property Managers
                             531320      Offices of Real Estate Appraisers
                             531390      Other Activities Related to Real Estate
                             532111      Passenger Car Rental
                             532112      Passenger Car Leasing
                             532120      Truck, Utility Trailer, and RV (Recreational Vehicle) Rental and Leasi
                             532210      Consumer Electronics and Appliances Rental
                             532220      Formal Wear and Costume Rental
                             532230      Video Tape and Disc Rental
                             532291      Home Health Equipment Rental
                             532292      Recreational Goods Rental
                             532299      All Other Consumer Goods Rental
                             532310      General Rental Centers
                             532411      Commercial Air, Rail, and Water Transportation Equipment Rental and Le
                             532412      Construction, Mining, and Forestry Machinery and Equipment Rental and
                             532420      Office Machinery and Equipment Rental and Leasing
                             532490      Other Commercial and Industrial Machinery and Equipment Rental and Lea
                             533110      Lessors of Nonfinancial Intangible Assets (except Copyrighted Works)
Group 2   Retail Trade       441110      New Car Dealers
                             441120      Used Car Dealers
                             441210      Recreational Vehicle Dealers
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Group    Category   NAICS Code                                   NAICS Description

                     441221      Motorcycle, ATV, and Personal Watercraft Dealers
                     441222      Boat Dealers
                     441229      All Other Motor Vehicle Dealers
                     441310      Automotive Parts and Accessories Stores
                     441320      Tire Dealers
                     442110      Furniture Stores
                     442210      Floor Covering Stores
                     442291      Window Treatment Stores
                     442299      All Other Home Furnishings Stores
                     443111      Household Appliance Stores
                     443112      Radio, Television, and Other Electronics Stores
                     443120      Computer and Software Stores
                     443130      Camera and Photographic Supplies Stores
                     444110      Home Centers
                     444120      Paint and Wallpaper Stores
                     444130      Hardware Stores
                     444190      Other Building Material Dealers
                     444210      Outdoor Power Equipment Stores
                     444220      Nursery, Garden Center, and Farm Supply Stores
                     445110      Supermarkets and Other Grocery (except Convenience) Stores
                     445120      Convenience Stores
                     445210      Meat Markets
                     445220      Fish and Seafood Markets
                     445230      Fruit and Vegetable Markets
                     445291      Baked Goods Stores
                     445292      Confectionery and Nut Stores
                     445299      All Other Specialty Food Stores
                     445310      Beer, Wine, and Liquor Stores
                     446110      Pharmacies and Drug Stores
                     446120      Cosmetics, Beauty Supplies, and Perfume Stores
                     446130      Optical Goods Stores
                     446191      Food (Health) Supplement Stores
                     446199      All Other Health and Personal Care Stores
                     447110      Gasoline Stations with Convenience Stores
                     447190      Other Gasoline Stations
                     448110      Men's Clothing Stores
                     448120      Women's Clothing Stores
                     448130      Children's and Infants' Clothing Stores
                     448140      Family Clothing Stores
                     448150      Clothing Accessories Stores
                     448190      Other Clothing Stores
                     448210      Shoe Stores
                     448310      Jewelry Stores
                     448320      Luggage and Leather Goods Stores
                     451110      Sporting Goods Stores
                     451120      Hobby, Toy, and Game Stores
                     451130      Sewing, Needlework, and Piece Goods Stores
                     451140      Musical Instrument and Supplies Stores
                     451211      Book Stores
                     451212      News Dealers and Newsstands
                     451220      Prerecorded Tape, Compact Disc, and Record Stores
                     452111      Department Stores (except Discount Department Stores)
                     452112      Discount Department Stores
                     452910      Warehouse Clubs and Supercenters
                     452990      All Other General Merchandise Stores
                     453110      Florists
                     453210      Office Supplies and Stationery Stores
                     453220      Gift, Novelty, and Souvenir Stores
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  Group         Category    NAICS Code                                  NAICS Description

                             453310      Used Merchandise Stores
                             453910      Pet and Pet Supplies Stores
                             453920      Art Dealers
                             453930      Manufactured (Mobile) Home Dealers
                             453991      Tobacco Stores
                             453998      All Other Miscellaneous Store Retailers (except Tobacco Stores)
                             454111      Electronic Shopping
                             454112      Electronic Auctions
                             454113      MailͲOrder Houses
                             454210      Vending Machine Operators
                             454311      Heating Oil Dealers
                             454312      Liquefied Petroleum Gas (Bottled Gas) Dealers
                             454319      Other Fuel Dealers
                             454390      Other Direct Selling Establishments
Group 2   Wholesale Trade    423110      Automobile and Other Motor Vehicle Merchant Wholesalers
                             423120      Motor Vehicle Supplies and New Parts Merchant Wholesalers
                             423130      Tire and Tube Merchant Wholesalers
                             423140      Motor Vehicle Parts (Used) Merchant Wholesalers
                             423210      Furniture Merchant Wholesalers
                             423220      Home Furnishing Merchant Wholesalers
                             423310      Lumber, Plywood, Millwork, and Wood Panel Merchant Wholesalers
                             423320      Brick, Stone, and Related Construction Material Merchant Wholesalers
                             423330      Roofing, Siding, and Insulation Material Merchant Wholesalers
                             423390      Other Construction Material Merchant Wholesalers
                             423410      Photographic Equipment and Supplies Merchant Wholesalers
                             423420      Office Equipment Merchant Wholesalers
                             423430      Computer and Computer Peripheral Equipment and Software Merchant Whole
                             423440      Other Commercial Equipment Merchant Wholesalers
                             423450      Medical, Dental, and Hospital Equipment and Supplies Merchant Wholesal
                             423460      Ophthalmic Goods Merchant Wholesalers
                             423490      Other Professional Equipment and Supplies Merchant Wholesalers
                             423510      Metal Service Centers and Other Metal Merchant Wholesalers
                             423520      Coal and Other Mineral and Ore Merchant Wholesalers
                             423610      Electrical Apparatus and Equipment, Wiring Supplies, and Related Equip
                             423620      Electrical and Electronic Appliance, Television, and Radio Set Merchan
                             423690      Other Electronic Parts and Equipment Merchant Wholesalers
                             423710      Hardware Merchant Wholesalers
                             423720      Plumbing and Heating Equipment and Supplies (Hydronics) Merchant Whole
                             423730      Warm Air Heating and AirͲConditioning Equipment and Supplies Merchant
                             423740      Refrigeration Equipment and Supplies Merchant Wholesalers
                             423810      Construction and Mining (except Oil Well) Machinery and Equipment Merc
                             423820      Farm and Garden Machinery and Equipment Merchant Wholesalers
                             423830      Industrial Machinery and Equipment Merchant Wholesalers
                             423840      Industrial Supplies Merchant Wholesalers
                             423850      Service Establishment Equipment and Supplies Merchant Wholesalers
                             423860      Transportation Equipment and Supplies (except Motor Vehicle) Merchant
                             423910      Sporting and Recreational Goods and Supplies Merchant Wholesalers
                             423920      Toy and Hobby Goods and Supplies Merchant Wholesalers
                             423930      Recyclable Material Merchant Wholesalers
                             423940      Jewelry, Watch, Precious Stone, and Precious Metal Merchant Wholesaler
                             423990      Other Miscellaneous Durable Goods Merchant Wholesalers
                             424110      Printing and Writing Paper Merchant Wholesalers
                             424120      Stationery and Office Supplies Merchant Wholesalers
                             424130      Industrial and Personal Service Paper Merchant Wholesalers
                             424210      Drugs and Druggists' Sundries Merchant Wholesalers
                             424310      Piece Goods, Notions, and Other Dry Goods Merchant Wholesalers
                             424320      Men's and Boys' Clothing and Furnishings Merchant Wholesalers
                             424330      Women's, Children's, and Infants' Clothing and Accessories Merchant Wh
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  Group          Category        NAICS Code                                   NAICS Description

                                  424340      Footwear Merchant Wholesalers
                                  424410      General Line Grocery Merchant Wholesalers
                                  424420      Packaged Frozen Food Merchant Wholesalers
                                  424430      Dairy Product (except Dried or Canned) Merchant Wholesalers
                                  424440      Poultry and Poultry Product Merchant Wholesalers
                                  424450      Confectionery Merchant Wholesalers
                                  424470      Meat and Meat Product Merchant Wholesalers
                                  424480      Fresh Fruit and Vegetable Merchant Wholesalers
                                  424490      Other Grocery and Related Products Merchant Wholesalers
                                  424510      Grain and Field Bean Merchant Wholesalers
                                  424520      Livestock Merchant Wholesalers
                                  424590      Other Farm Product Raw Material Merchant Wholesalers
                                  424610      Plastics Materials and Basic Forms and Shapes Merchant Wholesalers
                                  424690      Other Chemical and Allied Products Merchant Wholesalers
                                  424710      Petroleum Bulk Stations and Terminals
                                  424720      Petroleum and Petroleum Products Merchant Wholesalers (except Bulk Sta
                                  424810      Beer and Ale Merchant Wholesalers
                                  424820      Wine and Distilled Alcoholic Beverage Merchant Wholesalers
                                  424910      Farm Supplies Merchant Wholesalers
                                  424920      Book, Periodical, and Newspaper Merchant Wholesalers
                                  424930      Flower, Nursery Stock, and Florists' Supplies Merchant Wholesalers
                                  424940      Tobacco and Tobacco Product Merchant Wholesalers
                                  424950      Paint, Varnish, and Supplies Merchant Wholesalers
                                  424990      Other Miscellaneous Nondurable Goods Merchant Wholesalers
                                  425110      Business to Business Electronic Markets
                                  425120      Wholesale Trade Agents and Brokers
Other     Bars and Restaurants    722110      FullͲService Restaurants
                                  722211      LimitedͲService Restaurants
                                  722212      Cafeterias, Grill Buffets, and Buffets
                                  722213      Snack and Nonalcoholic Beverage Bars
                                  722410      Drinking Places (Alcoholic Beverages)
Other     Health Care             621111      Offices of Physicians (except Mental Health Specialists)
                                  621112      Offices of Physicians, Mental Health Specialists
                                  621210      Offices of Dentists
                                  621310      Offices of Chiropractors
                                  621320      Offices of Optometrists
                                  621330      Offices of Mental Health Practitioners (except Physicians)
                                  621340      Offices of Physical, Occupational and Speech Therapists, and Audiologi
                                  621391      Offices of Podiatrists
                                  621399      Offices of All Other Miscellaneous Health Practitioners
                                  621410      Family Planning Centers
                                  621420      Outpatient Mental Health and Substance Abuse Centers
                                  621491      HMO Medical Centers
                                  621492      Kidney Dialysis Centers
                                  621493      Freestanding Ambulatory Surgical and Emergency Centers
                                  621498      All Other Outpatient Care Centers
                                  621511      Medical Laboratories
                                  621512      Diagnostic Imaging Centers
                                  621610      Home Health Care Services
                                  621910      Ambulance Services
                                  621991      Blood and Organ Banks
                                  621999      All Other Miscellaneous Ambulatory Health Care Services
                                  622110      General Medical and Surgical Hospitals
                                  622210      Psychiatric and Substance Abuse Hospitals
                                  622310      Specialty (except Psychiatric and Substance Abuse) Hospitals
                                  623110      Nursing Care Facilities
                                  623210      Residential Mental Retardation Facilities
                                  623220      Residential Mental Health and Substance Abuse Facilities
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  Group          Category        NAICS Code                                      NAICS Description

                                  623311      Continuing Care Retirement Communities
                                  623312      Homes for the Elderly
                                  623990      Other Residential Care Facilities
                                  624110      Child and Youth Services
                                  624120      Services for the Elderly and Persons with Disabilities
                                  624190      Other Individual and Family Services
                                  624210      Community Food Services
                                  624221      Temporary Shelters
                                  624229      Other Community Housing Services
                                  624230      Emergency and Other Relief Services
                                  624310      Vocational Rehabilitation Services
                                  624410      Child Day Care Services
Other     Hotels and Motels       721110      Hotels (except Casino Hotels) and Motels
                                  721191      BedͲandͲBreakfast Inns
Other     All Other Industries    114111      Finfish Fishing
                                  114112      Shellfish Fishing
                                  114119      Other Marine Fishing
                                  114210      Hunting and Trapping
                                  211111      Crude Petroleum and Natural Gas Extraction
                                  211112      Natural Gas Liquid Extraction
                                  212111      Bituminous Coal and Lignite Surface Mining
                                  212112      Bituminous Coal Underground Mining
                                  212113      Anthracite Mining
                                  212210      Iron Ore Mining
                                  212221      Gold Ore Mining
                                  212222      Silver Ore Mining
                                  212231      Lead Ore and Zinc Ore Mining
                                  212234      Copper Ore and Nickel Ore Mining
                                  212291      UraniumͲRadiumͲVanadium Ore Mining
                                  212299      All Other Metal Ore Mining
                                  212311      Dimension Stone Mining and Quarrying
                                  212312      Crushed and Broken Limestone Mining and Quarrying
                                  212313      Crushed and Broken Granite Mining and Quarrying
                                  212319      Other Crushed and Broken Stone Mining and Quarrying
                                  212321      Construction Sand and Gravel Mining
                                  212322      Industrial Sand Mining
                                  212324      Kaolin and Ball Clay Mining
                                  212325      Clay and Ceramic and Refractory Minerals Mining
                                  212391      Potash, Soda, and Borate Mineral Mining
                                  212392      Phosphate Rock Mining
                                  212393      Other Chemical and Fertilizer Mineral Mining
                                  212399      All Other Nonmetallic Mineral Mining
                                  213111      Drilling Oil and Gas Wells
                                  213112      Support Activities for Oil and Gas Operations
                                  213113      Support Activities for Coal Mining
                                  213114      Support Activities for Metal Mining
                                  213115      Support Activities for Nonmetallic Minerals (except Fuels) Mining
                                  221111      Hydroelectric Power Generation
                                  221112      Fossil Fuel Electric Power Generation
                                  221113      Nuclear Electric Power Generation
                                  221119      Other Electric Power Generation
                                  221121      Electric Bulk Power Transmission and Control
                                  221122      Electric Power Distribution
                                  221210      Natural Gas Distribution
                                  221310      Water Supply and Irrigation Systems
                                  221320      Sewage Treatment Facilities
                                  221330      Steam and AirͲConditioning Supply
                                  311711      Seafood Canning
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Group    Category   NAICS Code                                     NAICS Description

                     311712      Fresh and Frozen Seafood Processing
                     424460      Fish and Seafood Merchant Wholesalers
                     481111      Scheduled Passenger Air Transportation
                     481112      Scheduled Freight Air Transportation
                     481211      Nonscheduled Chartered Passenger Air Transportation
                     481212      Nonscheduled Chartered Freight Air Transportation
                     481219      Other Nonscheduled Air Transportation
                     482111      LineͲHaul Railroads
                     482112      Short Line Railroads
                     483111      Deep Sea Freight Transportation
                     483112      Deep Sea Passenger Transportation
                     483113      Coastal and Great Lakes Freight Transportation
                     483114      Coastal and Great Lakes Passenger Transportation
                     483211      Inland Water Freight Transportation
                     483212      Inland Water Passenger Transportation
                     484110      General Freight Trucking, Local
                     484121      General Freight Trucking, LongͲDistance, Truckload
                     484122      General Freight Trucking, LongͲDistance, Less Than Truckload
                     484210      Used Household and Office Goods Moving
                     484220      Specialized Freight (except Used Goods) Trucking, Local
                     484230      Specialized Freight (except Used Goods) Trucking, LongͲDistance
                     485111      Mixed Mode Transit Systems
                     485112      Commuter Rail Systems
                     485113      Bus and Other Motor Vehicle Transit Systems
                     485119      Other Urban Transit Systems
                     485210      Interurban and Rural Bus Transportation
                     485310      Taxi Service
                     485320      Limousine Service
                     485410      School and Employee Bus Transportation
                     485510      Charter Bus Industry
                     485991      Special Needs Transportation
                     485999      All Other Transit and Ground Passenger Transportation
                     486110      Pipeline Transportation of Crude Oil
                     486210      Pipeline Transportation of Natural Gas
                     486910      Pipeline Transportation of Refined Petroleum Products
                     486990      All Other Pipeline Transportation
                     487110      Scenic and Sightseeing Transportation, Land
                     487210      Scenic and Sightseeing Transportation, Water
                     487990      Scenic and Sightseeing Transportation, Other
                     488111      Air Traffic Control
                     488119      Other Airport Operations
                     488190      Other Support Activities for Air Transportation
                     488210      Support Activities for Rail Transportation
                     488310      Port and Harbor Operations
                     488320      Marine Cargo Handling
                     488330      Navigational Services to Shipping
                     488390      Other Support Activities for Water Transportation
                     488410      Motor Vehicle Towing
                     488490      Other Support Activities for Road Transportation
                     488510      Freight Transportation Arrangement
                     488991      Packing and Crating
                     488999      All Other Support Activities for Transportation
                     491110      Postal Service
                     492110      Couriers and Express Delivery Services
                     492210      Local Messengers and Local Delivery
                     493110      General Warehousing and Storage
                     493120      Refrigerated Warehousing and Storage
                     493130      Farm Product Warehousing and Storage
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Group    Category   NAICS Code                                      NAICS Description

                     493190      Other Warehousing and Storage
                     511110      Newspaper Publishers
                     511120      Periodical Publishers
                     511130      Book Publishers
                     511140      Directory and Mailing List Publishers
                     511191      Greeting Card Publishers
                     511199      All Other Publishers
                     511210      Software Publishers
                     512110      Motion Picture and Video Production
                     512120      Motion Picture and Video Distribution
                     512131      Motion Picture Theaters (except DriveͲIns)
                     512132      DriveͲIn Motion Picture Theaters
                     512191      Teleproduction and Other Postproduction Services
                     512199      Other Motion Picture and Video Industries
                     512210      Record Production
                     512220      Integrated Record Production/Distribution
                     512230      Music Publishers
                     512240      Sound Recording Studios
                     512290      Other Sound Recording Industries
                     515111      Radio Networks
                     515112      Radio Stations
                     515120      Television Broadcasting
                     515210      Cable and Other Subscription Programming
                     517110      Wired Telecommunications Carriers
                     517210      Wireless Telecommunications Carriers (except Satellite)
                     517410      Satellite Telecommunications
                     517911      Telecommunications Resellers
                     517919      All Other Telecommunications
                     518210      Data Processing, Hosting, and Related Services
                     519110      News Syndicates
                     519120      Libraries and Archives
                     519130      Internet Publishing and Broadcasting and Web Search Portals
                     519190      All Other Information Services
                     521110      Monetary AuthoritiesͲCentral Bank
                     522110      Commercial Banking
                     522120      Savings Institutions
                     522130      Credit Unions
                     522190      Other Depository Credit Intermediation
                     522210      Credit Card Issuing
                     522220      Sales Financing
                     522291      Consumer Lending
                     522292      Real Estate Credit
                     522293      International Trade Financing
                     522294      Secondary Market Financing
                     522298      All Other Nondepository Credit Intermediation
                     522310      Mortgage and Nonmortgage Loan Brokers
                     522320      Financial Transactions Processing, Reserve, and Clearinghouse Activiti
                     522390      Other Activities Related to Credit Intermediation
                     523110      Investment Banking and Securities Dealing
                     523120      Securities Brokerage
                     523130      Commodity Contracts Dealing
                     523140      Commodity Contracts Brokerage
                     523210      Securities and Commodity Exchanges
                     523910      Miscellaneous Intermediation
                     523920      Portfolio Management
                     523930      Investment Advice
                     523991      Trust, Fiduciary, and Custody Activities
                     523999      Miscellaneous Financial Investment Activities
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Group    Category   NAICS Code                                      NAICS Description

                     524113      Direct Life Insurance Carriers
                     524114      Direct Health and Medical Insurance Carriers
                     524126      Direct Property and Casualty Insurance Carriers
                     524127      Direct Title Insurance Carriers
                     524128      Other Direct Insurance (except Life, Health, and Medical) Carriers
                     524130      Reinsurance Carriers
                     524210      Insurance Agencies and Brokerages
                     524291      Claims Adjusting
                     524292      Third Party Administration of Insurance and Pension Funds
                     524298      All Other Insurance Related Activities
                     525110      Pension Funds
                     525120      Health and Welfare Funds
                     525190      Other Insurance Funds
                     525910      OpenͲEnd Investment Funds
                     525920      Trusts, Estates, and Agency Accounts
                     525990      Other Financial Vehicles
                     551111      Offices of Bank Holding Companies
                     551112      Offices of Other Holding Companies
                     551114      Corporate, Subsidiary, and Regional Managing Offices
                     561110      Office Administrative Services
                     561210      Facilities Support Services
                     561311      Employment Placement Agencies
                     561312      Executive Search Services
                     561320      Temporary Help Services
                     561330      Professional Employer Organizations
                     561410      Document Preparation Services
                     561421      Telephone Answering Services
                     561422      Telemarketing Bureaus and Other Contact Centers
                     561431      Private Mail Centers
                     561439      Other Business Service Centers (including Copy Shops)
                     561440      Collection Agencies
                     561450      Credit Bureaus
                     561491      Repossession Services
                     561492      Court Reporting and Stenotype Services
                     561499      All Other Business Support Services
                     561510      Travel Agencies
                     561520      Tour Operators
                     561591      Convention and Visitors Bureaus
                     561599      All Other Travel Arrangement and Reservation Services
                     561611      Investigation Services
                     561612      Security Guards and Patrol Services
                     561613      Armored Car Services
                     561621      Security Systems Services (except Locksmiths)
                     561622      Locksmiths
                     561710      Exterminating and Pest Control Services
                     561720      Janitorial Services
                     561730      Landscaping Services
                     561740      Carpet and Upholstery Cleaning Services
                     561790      Other Services to Buildings and Dwellings
                     561910      Packaging and Labeling Services
                     561920      Convention and Trade Show Organizers
                     561990      All Other Support Services
                     562111      Solid Waste Collection
                     562112      Hazardous Waste Collection
                     562119      Other Waste Collection
                     562211      Hazardous Waste Treatment and Disposal
                     562212      Solid Waste Landfill
                     562213      Solid Waste Combustors and Incinerators
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Group    Category   NAICS Code                                     NAICS Description

                     562219      Other Nonhazardous Waste Treatment and Disposal
                     562910      Remediation Services
                     562920      Materials Recovery Facilities
                     562991      Septic Tank and Related Services
                     562998      All Other Miscellaneous Waste Management Services
                     611110      Elementary and Secondary Schools
                     611210      Junior Colleges
                     611310      Colleges, Universities, and Professional Schools
                     611410      Business and Secretarial Schools
                     611420      Computer Training
                     611430      Professional and Management Development Training
                     611511      Cosmetology and Barber Schools
                     611512      Flight Training
                     611513      Apprenticeship Training
                     611519      Other Technical and Trade Schools
                     611610      Fine Arts Schools
                     611620      Sports and Recreation Instruction
                     611630      Language Schools
                     611691      Exam Preparation and Tutoring
                     611692      Automobile Driving Schools
                     611699      All Other Miscellaneous Schools and Instruction
                     611710      Educational Support Services
                     711110      Theater Companies and Dinner Theaters
                     711120      Dance Companies
                     711130      Musical Groups and Artists
                     711190      Other Performing Arts Companies
                     711211      Sports Teams and Clubs
                     711212      Racetracks
                     711219      Other Spectator Sports
                     711310      Promoters of Performing Arts, Sports, and Similar Events with Faciliti
                     711320      Promoters of Performing Arts, Sports, and Similar Events without Facil
                     711410      Agents and Managers for Artists, Athletes, Entertainers, and Other Pub
                     711510      Independent Artists, Writers, and Performers
                     712110      Museums
                     712120      Historical Sites
                     712130      Zoos and Botanical Gardens
                     712190      Nature Parks and Other Similar Institutions
                     713110      Amusement and Theme Parks
                     713120      Amusement Arcades
                     713210      Casinos (except Casino Hotels)
                     713290      Other Gambling Industries
                     713910      Golf Courses and Country Clubs
                     713920      Skiing Facilities
                     713930      Marinas
                     713940      Fitness and Recreational Sports Centers
                     713950      Bowling Centers
                     713990      All Other Amusement and Recreation Industries
                     721120      Casino Hotels
                     721199      All Other Traveler Accommodation
                     721211      RV (Recreational Vehicle) Parks and Campgrounds
                     721214      Recreational and Vacation Camps (except Campgrounds)
                     721310      Rooming and Boarding Houses
                     722310      Food Service Contractors
                     722320      Caterers
                     722330      Mobile Food Services
                     811111      General Automotive Repair
                     811112      Automotive Exhaust System Repair
                     811113      Automotive Transmission Repair
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Group    Category   NAICS Code                                   NAICS Description

                     811118      Other Automotive Mechanical and Electrical Repair and Maintenance
                     811121      Automotive Body, Paint, and Interior Repair and Maintenance
                     811122      Automotive Glass Replacement Shops
                     811191      Automotive Oil Change and Lubrication Shops
                     811192      Car Washes
                     811198      All Other Automotive Repair and Maintenance
                     811211      Consumer Electronics Repair and Maintenance
                     811212      Computer and Office Machine Repair and Maintenance
                     811213      Communication Equipment Repair and Maintenance
                     811219      Other Electronic and Precision Equipment Repair and Maintenance
                     811310      Commercial and Industrial Machinery and Equipment (except Automotive a
                     811411      Home and Garden Equipment Repair and Maintenance
                     811412      Appliance Repair and Maintenance
                     811420      Reupholstery and Furniture Repair
                     811430      Footwear and Leather Goods Repair
                     811490      Other Personal and Household Goods Repair and Maintenance
                     812111      Barber Shops
                     812112      Beauty Salons
                     812113      Nail Salons
                     812191      Diet and Weight Reducing Centers
                     812199      Other Personal Care Services
                     812210      Funeral Homes and Funeral Services
                     812220      Cemeteries and Crematories
                     812310      CoinͲOperated Laundries and Drycleaners
                     812320      Drycleaning and Laundry Services (except CoinͲOperated)
                     812331      Linen Supply
                     812332      Industrial Launderers
                     812910      Pet Care (except Veterinary) Services
                     812921      Photofinishing Laboratories (except OneͲHour)
                     812922      OneͲHour Photofinishing
                     812930      Parking Lots and Garages
                     812990      All Other Personal Services
                     813110      Religious Organizations
                     813211      Grantmaking Foundations
                     813212      Voluntary Health Organizations
                     813219      Other Grantmaking and Giving Services
                     813311      Human Rights Organizations
                     813312      Environment, Conservation and Wildlife Organizations
                     813319      Other Social Advocacy Organizations
                     813410      Civic and Social Organizations
                     813910      Business Associations
                     813920      Professional Organizations
                     813930      Labor Unions and Similar Labor Organizations
                     813940      Political Organizations
                     813990      Other Similar Organizations (except Business, Professional, Labor, and
                     814110      Private Households
                     921110      Executive Offices
                     921120      Legislative Bodies
                     921130      Public Finance Activities
                     921140      Executive and Legislative Offices, Combined
                     921150      American Indian and Alaska Native Tribal Governments
                     921190      Other General Government Support
                     922110      Courts
                     922120      Police Protection
                     922130      Legal Counsel and Prosecution
                     922140      Correctional Institutions
                     922150      Parole Offices and Probation Offices
                     922160      Fire Protection
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Group    Category   NAICS Code                                   NAICS Description

                     922190      Other Justice, Public Order, and Safety Activities
                     923110      Administration of Education Programs
                     923120      Administration of Public Health Programs
                     923130      Administration of Human Resource Programs (except Education, Public He
                     923140      Administration of Veterans' Affairs
                     924110      Administration of Air and Water Resource and Solid Waste Management Pr
                     924120      Administration of Conservation Programs
                     925110      Administration of Housing Programs
                     925120      Administration of Urban Planning and Community and Rural Development
                     926110      Administration of General Economic Programs
                     926120      Regulation and Administration of Transportation Programs
                     926130      Regulation and Administration of Communications, Electric, Gas, and Ot
                     926140      Regulation of Agricultural Marketing and Commodities
                     926150      Regulation, Licensing, and Inspection of Miscellaneous Commercial Sect
                     927110      Space Research and Technology
                     928110      National Security
                     928120      International Affairs




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                          APPENDIX 3




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             Examples of Disproportionate Awards Under the BEL Framework
     Awards to Construction Industry Claimants

        Claim         : Claimant is a Zone D housing construction company
         (more than 200 miles from the Gulf). The Settlement Program awarded Claimant $10.1 million
         in pre‐RTP lost profit ($12.7 million post‐RTP). This pre‐RTP award assumes that, in the absence
         of the Spill, Claimant’s 2010 variable profit would have increased by 103% over actual variable
         profit in the Benchmark Period.1

        Claim       Claimant is a Zone D highway, street and bridge construction company
                               (almost 200 miles from the Gulf). The Settlement Program awarded
         Claimant $7.7 million in pre‐RTP lost profit ($9.7 million post‐RTP) notwithstanding that
         Claimant’s 2010 variable profit exceeded its Benchmark years (2007‐2009) average variable
         profit by 21%.

        Claim       : Claimant is a Zone D general contractor                        . The Settlement
         Program awarded Claimant more than $3.8 million in pre‐RTP lost profit ($4.8 million post‐RTP)
         notwithstanding that Claimant’s annual 2010 variable profit exceeded its annual variable profit
         in the Benchmark years by 20%.

        Claim        : Claimant is a Zone C commercial building construction company located
                              . The Settlement Program awarded Claimant $1.7 million pre‐RTP lost profit
         ($2 million post‐RTP), notwithstanding that Claimant’s 2010 variable profit exceeded its
         benchmark years (2008‐2009) average variable profit by 7%.

        Claim        : Claimant is a Zone D glass and glazing contractor                        . The
         Settlement Program awarded Claimant more than $1.6 million in pre‐RTP lost profit (more than
         $2 million post‐RTP), notwithstanding that Claimant’s annual 2010 variable profit exceeded its
         annual variable profit in the Benchmark years by 5%.

        Claim         : Claimant is a Zone D construction company                       (more than 200
         miles from the Gulf). The Settlement Program awarded Claimant $1 million in pre‐RTP lost
         profit ($1.4 million post‐RTP), notwithstanding that Claimant’s annual 2010 variable profit
         exceeded its annual variable profit in the Benchmark years by 7%.

        Claim       : Claimant is a Zone D commercial building construction company
                    (more than 150 miles from the Gulf). The Settlement Program awarded Claimant
         $952,000 in pre‐RTP lost profit ($1.2 million post‐RTP), notwithstanding that Claimant’s annual
         2010 variable profit exceeded its annual Benchmark variable profit by 45%.

1
 Unless otherwise noted, the comparison made in these examples compares Claimant’s May‐December (post‐Spill
period) 2010 variable profit to its average May‐December variable profit in the Benchmark Year or Years. Where
data and percentages are based on annual performance, rather than performance in just the May‐December
period, the description notes that the information is based on annual performance. Further, for any comparison of
Claimant’s variable profit to prior years described below, the reported years are the benchmark period even if not
specifically indicated. Finally, where noted, the post‐RTP award amount is Claimant’s final award amount, post‐
RTP, plus claimant accounting support, less prior Spill‐related payments.


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    Claim       : Claimant is a Zone D housing construction company                           .
     The Settlement Program awarded Claimant $942,000 in pre‐RTP lost profit ($1.2 million post‐
     RTP). This pre‐RTP award assumes that, in the absence of the Spill, Claimant could have
     expected its 2010 variable profit to increase by 155% over actual variable profit in the
     Benchmark Period.

    Claim         : Claimant is a Zone D residential remodeling company
     (more than 150 miles from the Gulf). The Settlement Program awarded Claimant $939,000 in
     pre‐RTP lost profit ($1.2 million post‐RTP), notwithstanding that Claimant’s annual 2010 variable
     profit exceeded its annual variable profit in the Benchmark years by 61%.

    Claim         : Claimant is a Zone D housing construction company                             .
     The Settlement Program awarded Claimant $863,000 in pre‐RTP lost profit (more than $1
     million post‐RTP). This pre‐RTP award assumes that, in the absence of the Spill, Claimant could
     have expected its 2010 variable profit to increase by 103% over actual variable profit in the
     Benchmark Period.

    Claim       : Claimant is a Zone D housing construction company
     (more than 150 miles from Gulf Coast). The Settlement Program awarded Claimant $775,000 in
     pre‐RTP lost profit ($972,000 post‐RTP). This award assumes that, in the absence of the Spill,
     Claimant could have expected its 2010 variable profit to increase by 48%.

    Claim        : Claimant is a Zone D housing construction company
     (more than 138 miles from the Gulf). The Settlement Program awarded Claimant $740,000 in
     pre‐RTP lost profit ($927,000 post‐RTP). This pre‐RTP award assumes that, in the absence of the
     Spill, Claimant could have expected its 2010 variable profit to increase by 162% over actual
     variable profit in the Benchmark Period.

    Claim       : Claimant is a Zone D plumbing, heating and air‐conditioning contractor
              . The Settlement Program awarded Claimant $711,000 in pre‐RTP lost profit (more
     than $899,000 post‐RTP). This pre‐RTP award assumes that, in the absence of the Spill, Claimant
     could have expected its 2010 variable profit to increase by 70% over actual variable profit in the
     Benchmark Period.

    Claim         : Claimant is a Zone D single‐family housing construction company located
                (almost 100 miles from the Gulf). The Settlement Program awarded Claimant
     $680,000 in pre‐RTP lost profit ($850,000 in post‐RTP). This award implies that, in the absence
     of the Spill, Claimant could have expected its 2010 annual variable profit to increase by 625%
     over actual annual variable profit in the Benchmark Period.

    Claim       : Claimant is a Zone D drywall and insulation contractor                        . The
     Settlement Program awarded Claimant $666,000 in pre‐RTP lost profit (more than $837,000
     post‐RTP). This pre‐RTP award assumes that, in the absence of the Spill, Claimant could have
     expected its 2010 variable profit to increase by 50% over actual variable profit in the Benchmark
     Period.




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    Claim       : Claimant is a Zone C electrical contractor                        . The
     Settlement Program awarded Claimant $616,000 in pre‐RTP lost profit ($769,000 post‐RTP),
     notwithstanding that Claimant’s annual 2010 variable profit exceeded its annual variable profit
     in the Benchmark years by 7%.

    Claim       : Claimant is a Zone B residential construction company                     . The
     Settlement Program awarded Claimant $567,000 in pre‐RTP lost profit ($1.28 million post‐RTP),
     notwithstanding that Claimant’s annual 2010 variable profit exceeded its annual variable profit
     in the Benchmark years by 5%.

    Claim       : Claimant is a Zone C housing construction company                            .
     The Settlement Program awarded Claimant $502,000 in pre‐RTP lost variable profit ($635,000
     post‐RTP) notwithstanding its 2010 variable profit exceeded its 2007‐2009 average variable
     profit.

    Claim       : Claimant is a Zone D landscaping company                        (more than 200
     miles from the Spill). The Settlement Program awarded Claimant $478,000 in pre‐RTP lost profit
     ($599,000 post‐RTP). This pre‐RTP award assumes that, in the absence of the Spill, Claimant
     could have expected its 2010 variable profit to increase by 50% over actual variable profit in the
     Benchmark Period.

    Claim       : Claimant is a Zone C building materials dealer                         . The
     Settlement Program awarded Claimant $462,000 in pre‐RTP lost profit ($584,000 post‐RTP),
     notwithstanding that Claimant’s 2010 annual variable profit exceeded its annual variable profit
     in the Benchmark years.

    Claim       : Claimant is a Zone D housing construction company                          . The
     Settlement Program awarded Claimant $439,000 in pre‐RTP lost profit (more than $549,000
     post‐RTP). This pre‐RTP award assumes that, in the absence of the Spill, Claimant could have
     expected its 2010 variable profit to increase by 101% over actual variable profit in the
     Benchmark Period.

    Claim     : Claimant is a Zone D asbestos remediation contractor                       . The
     Settlement Program awarded Claimant $392,000 in pre‐RTP lost profit ($492,000 post‐RTP),
     notwithstanding that Claimant’s 2010 variable profit exceeded its Benchmark variable profit by
     9%.

    Claim        : Claimant is a Zone D single‐family housing construction company
           . The Settlement Program awarded Claimant $379,000 in pre‐RTP lost‐profit ($477,000
     post‐RTP), notwithstanding that Claimant’s 2010 variable profit exceeded its Benchmark variable
     profit by 136%.

    Claim       : Claimant is a Zone D single‐family housing construction company                 .
     The Settlement Program awarded Claimant $345,000 in pre‐RTP lost profit ($432,000 post‐RTP),
     notwithstanding that Claimant’s 2010 annual variable profit exceeded its annual variable profit
     in the Benchmark years.




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    Claim       : Claimant is a Zone D site preparation contractor                 . The
     Settlement Program awarded Claimant $337,000 in pre‐RTP lost profit ($425,000 post‐RTP),
     notwithstanding that Claimant’s 2010 variable profit exceeded its Benchmark variable profit.

    Claim        : Claimant is a Zone B single‐family house construction company
                         . The Settlement Program awarded Claimant $329,000 in pre‐RTP lost profit
     ($743,000 in post‐RTP), notwithstanding that Claimant’s 2010 annual variable profit exceeded
     its annual variable profit in the Benchmark years by 71%.

    Claim      : Claimant is a Zone D commercial and institutional building construction company
                       . The Settlement Program awarded Claimant $328,000 in pre‐RTP lost profit
     ($413,000 post‐RTP), notwithstanding that Claimant’s 2010 variable profit exceeded its
     Benchmark variable profit by 253%.

    Claim       : Claimant is a Zone B housing construction company                           . The
     Settlement Program awarded Claimant $303,000 in pre‐RTP lost profit ($686,000 post‐RTP).
     This pre‐RTP award assumes that, in the absence of the Spill, Claimant could have expected its
     2010 variable profit to increase by 78% over actual variable profit in the Benchmark Period.

    Claim        : Claimant is a Zone C single‐family housing construction company
                The Settlement Program awarded Claimant $294,000 in pre‐RTP lost profit ($370,000
     post‐RTP), notwithstanding that Claimant’s 2010 annual variable profit exceeded its annual
     variable profit in the Benchmark years by 5%.

    Claim       : Claimant is a Zone D residential remodeling construction company
             The Settlement Program awarded Claimant $271,000 in pre‐RTP lost profit ($340,000
     post‐RTP), notwithstanding that Claimant’s 2010 variable profit exceeded its Benchmark variable
     profit.

    Claim      : Claimant is a Zone C single‐family housing construction company
                  . The Settlement Program awarded Claimant $264,000 in pre‐RTP lost profit,
     notwithstanding that Claimant’s 2010 variable profit exceeded its Benchmark variable profit.

    Claim       : Claimant is a Zone D construction material wholesaler                       . The
     Settlement Program awarded Claimant $240,000 in pre‐RTP lost profit ($305,000 post‐RTP),
     notwithstanding that Claimant’s 2010 annual variable profit exceeded its annual variable profit
     in the Benchmark years by 8%.

    Claim        : Claimant is a Zone D construction company                          (more than
     100 miles from the Gulf). The Settlement Program awarded Claimant $212,000 in pre‐RTP lost
     profit ($269,000 post‐RTP), notwithstanding that Claimant’s 2010 variable profit exceeded its
     Benchmark variable profit by 22%.

    Claim        : Claimant is a Zone D single‐family housing construction company              ,
              . The Settlement Program awarded Claimant $190,000 in pre‐RTP lost profit ($241,000
     post‐RTP), notwithstanding that Claimant’s 2010 variable profit exceeded its Benchmark variable
     profit by 47%.



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    Claim        : Claimant is a Zone B single‐family housing construction company
               . The Settlement Program awarded Claimant $165,000 in pre‐RTP lost profit ($375,000
     post‐RTP), notwithstanding that Claimant’s 2010 variable profit exceeded its Benchmark variable
     profit. Claimant was unprofitable in the Benchmark years, losing $119,000 in variable profit that
     year, and became profitable in 2010, earning $384,000 in variable profit.

    Claim       : Claimant is a Zone C construction company                      . The Settlement
     Program awarded Claimant $154,000 in pre‐RTP lost profit ($194,000 post‐RTP),
     notwithstanding that Claimant’s 2010 variable profit exceeded its 2007‐2009 average variable
     profit by 75%.

    Claim        : Claimant is a Zone C electrical contractor                        . The
     Settlement Program awarded Claimant $135,000 in pre‐RTP lost profit ($171,000 post‐RTP),
     notwithstanding that Claimant’s 2010 annual variable profit exceeded its annual variable profit
     in the Benchmark years.

    Claim        : Claimant is a Zone D residential remodeler                      (more than 180
     miles from the Gulf). The Settlement Program awarded Claimant $135,000 in pre‐RTP lost profit
     ($171,000 post‐RTP), notwithstanding that Claimant’s 2010 variable profit exceeded its
     Benchmark variable profit by 84%.

    Claim        Claimant is a Zone C plumbing contractor                       . The Settlement
     Program awarded Claimant $133,000 in pre‐RTP lost profit ($107,000 post‐RTP),
     notwithstanding that Claimant’s 2010 variable profit exceeded its Benchmark variable profit by
     6%.

    Claim       : Claimant is a Zone D housing construction company                        . The
     Settlement Program awarded Claimant $127,000 in pre‐RTP lost profits ($70,000 post‐RTP),
     notwithstanding that Claimant’s 2010 variable profit exceeded its Benchmark variable profit.

    Claim       : Claimant is a Zone D construction company                          (more than 150
     miles from the Gulf). The Settlement Program awarded Claimant $126,000 in pre‐RTP lost profit
     ($159,000 post‐RTP). This pre‐RTP award assumes that, in the absence of the Spill, Claimant
     could have expected its 2010 variable profit to increase by 190% over actual variable profit in
     the Benchmark Period.

    Claim       : Claimant is a Zone C heating and air‐conditioning contractor                 .
     The Settlement Program awarded Claimant $122,000 in pre‐RTP lost profits ($155,000 post‐
     RTP), notwithstanding that Claimant’s 2010 variable profit exceeded its Benchmark variable
     profit by 7%.

    Claim        : Claimant is a Zone D housing construction company                         . The
     Settlement Program awarded Claimant $119,000 in pre‐RTP lost profits ($150,000 post‐RTP),
     notwithstanding that Claimant’s 2010 variable profit exceeded its Benchmark variable profit by
     15%.




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    Claim      : Claimant is a Zone C residential remodeler                    . The Settlement
     Program awarded Claimant $117,000 in pre‐RTP lost profits ($147,000 post‐RTP),
     notwithstanding that Claimant’s 2010 variable profit exceeded its Benchmark variable profit by
     13%.

    Claim         : Claimant is a Zone D building finishing contractor                        (more
     than 150 miles from the Gulf). The Settlement Program awarded Claimant $114,000 in pre‐RTP
     lost profits ($145,000 post‐RTP), notwithstanding that Claimant’s 2010 variable profit exceeded
     its Benchmark variable profit by 12%.

    Claim       : Claimant is a Zone C housing construction company                   . The
     Settlement Program awarded Claimant $107,000 in pre‐RTP lost profits ($134,000 post‐RTP),
     notwithstanding that Claimant’s 2010 variable profit exceeded its Benchmark variable profit by
     1226%.

    Claim       : Claimant is a Zone D construction company                      . The Settlement
     Program awarded Claimant $103,000 in pre‐RTP lost profit ($131,000 post‐RTP),
     notwithstanding that Claimant’s 2010 variable profit exceeded its 2008‐2009 average variable
     profit by 57%.

    Claim        : Claimant is a Zone D construction contractor                     . The Settlement
     Program awarded Claimant $83,000 in pre‐RTP lost profit (more than $103,000 post‐RTP). This
     pre‐RTP award assumes that, in the absence of the Spill, Claimant could have expected its 2010
     variable profit to increase by 59% over actual variable profit in the Benchmark Period.

    Claim      : Claimant is a Zone D drywall and insulation construction contractor
                          (more than 300 miles from the Gulf). The Settlement Program awarded
     Claimant $75,000 in pre‐RTP lost profit ($94,000 post‐RTP), notwithstanding that Claimant’s
     2010 annual variable profit exceeded its annual variable profit in the Benchmark years by 103%.

    Claim       : Claimant is a Zone D plumbing, heating, and air‐conditioning contractor
                             (more than 100 miles from the Gulf). The Settlement Program awarded
     Claimant $63,286 in pre‐RTP lost profit ($79,108 post‐RTP), notwithstanding that Claimant’s
     2010 variable profit exceeded its 2009 (Benchmark Period) variable profit by 710%.

    Claim        : Claimant is a Zone D housing construction company                        .
     The Settlement Program awarded Claimant $55,000 in pre‐RTP lost profit ($70,000 post‐RTP),
     notwithstanding that Claimant’s 2010 variable profit exceeded its Benchmark (2008‐2009)
     variable profit by 59%.

    Claim       : Claimant is a Zone D roofing contractor                      . The Settlement
     Program awarded Claimant $52,000 in pre‐RTP lost profit ($65,000 post‐RTP), notwithstanding
     that Claimant’s 2010 variable profit exceeded its 2009 (Benchmark Period) variable profit by
     128%.

    Claim       : Claimant is a Zone C safety equipment contractor                     . The
     Settlement Program awarded Claimant $31,000 in pre‐RTP lost profit ($40,000 post‐RTP),



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     notwithstanding that Claimant’s 2010 variable profit exceeded its Benchmark (2007‐2009)
     variable profit by 35%.

    Claim        : Claimant is a Zone D construction company                           (more than
     200 miles from the Gulf). The Settlement Program awarded Claimant $30,000 in pre‐RTP lost
     profit ($39,000 post‐RTP), notwithstanding that Claimant’s 2010 variable profit exceeded its
     Benchmark (2009) variable profit by 45%.

 Awards to Agricultural Industry Claimants


    Claim        : Claimant is a Zone B rice mill                            . The Settlement
     Program awarded Claimant $9.4 million in pre‐RTP lost profit ($21 million in post‐RTP),
     notwithstanding that Claimant’s 2010 annual revenue exceeded its annual revenue in all
     benchmark years. This award implies that, in the absence of the Spill, Claimant could have
     expected its 2010 variable profit to exceed its Benchmark variable profit by 59%.

    Claim       : Claimant is a Zone B alligator farm                     . The Settlement
     Program awarded Claimant $7.4 million in pre‐RTP lost profit ($16.6 million post‐RTP). This pre‐
     RTP award assumes that in absence of spill Claimant's annual 2010 variable profit would have
     more than tripled its variable profit in the Benchmark year.

    Claim        : Claimant is a Zone D rice farm                    (nearly 200 miles from the
     Gulf). The Settlement Program awarded Claimant $2.4 million in pre‐RTP lost profit ($3 million
     post‐RTP). This pre‐RTP award assumes that, in the absence of the Spill, Claimant’s 2010
     variable profit would have increased by 214% over actual variable profit in the Benchmark
     Period.

    Claim        : Claimant is a Zone D fish farm                     (more than 300 miles from
     the Gulf). The Settlement Program awarded Claimant $1.25 million in pre‐RTP lost profit ($1.57
     million post‐RTP). This pre‐RTP award assumes that, in the absence of the Spill, Claimant could
     have expected its 2010 variable profit to increase by 342% over actual variable profit in the
     Benchmark Period.

    Claim       : Claimant is a Zone D peanut farm                      . The Settlement Program
     awarded Claimant $1,047,000 in pre‐RTP lost profit ($1,313,000 post‐RTP), notwithstanding that
     Claimant’s 2010 annual variable profit exceeded its annual variable profit in the Benchmark
     years by 12%.

    Claim        : Claimant is a Zone D crop farmer                          (more than 250 miles
     from the Gulf). The Settlement Program awarded Claimant $938,000 in pre‐RTP lost profit ($1.2
     million post‐RTP), notwithstanding that Claimant’s 2010 variable profit exceeded its Benchmark
     (2007‐2009) variable profit by 5%.

    Claim       : Claimant is a Zone C gator farm                         The Settlement Program
     awarded Claimant $917,000 in pre‐RTP lost profit ($1.2 million post‐RTP), notwithstanding that
     Claimant’s 2010 variable profit exceeded its 2008‐2009 average variable profit. Claimant was



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     unprofitable in the Benchmark years, losing an average of $289,000 in variable profit per year,
     and became profitable in 2010, earning $1,565,000 in variable profit.

    Claim        : Claimant is a Zone D fish farm                         (almost 200 miles from the
     Gulf). The Settlement Program awarded Claimant $872,000 in pre‐RTP lost profit (more than $1
     million post‐RTP). This pre‐RTP award assumes that, in the absence of the Spill, Claimant could
     have expected its 2010 variable profit to increase by 68% over actual variable profit in the
     Benchmark Period.

    Claim       : Claimant is a Zone D catfish farm                     (more than 300 miles from
     Gulf). The Settlement Program awarded Claimant $772,000 in pre‐RTP lost profit ($968,000
     post‐RTP), notwithstanding that Claimant's 2010 annual variable profit exceeded its Benchmark
     (2009) annual variable profit by 5204%.

    Claim       : Claimant is a Zone D cotton farmer located                          (more than 250
     miles from the Gulf). The Settlement Program awarded Claimant $680,000 in pre‐RTP lost profit
     ($857,000 in post‐RTP). This award implies that, in the absence of the Spill, Claimant could have
     expected its 2010 variable profit to have increased by 120% over Benchmark variable profit.

    Claim         : Claimant is a Zone D farmer                           (more than 200 miles from
     the Gulf). The Settlement Program awarded Claimant $635,000 in pre‐RTP lost profit ($796,000
     post‐RTP). This pre‐RTP award assumes that, in the absence of the Spill, Claimant could have
     expected its 2010 variable profit to increase by 68% over actual variable profit in the Benchmark
     Period.

    Claim       : Claimant is a Zone D rice farmer                       (more than 200 miles from
     the Gulf). The Settlement Program awarded Claimant $555,000 in pre‐RTP lost profit ($697,000
     post‐RTP). This pre‐RTP award assumes that, in the absence of the Spill, Claimant could have
     expected its 2010 variable profit to increase by 102% over actual variable profit in the
     Benchmark Period.

    Claim        : Claimant is a Zone D corn farm                          (more than 250 miles
     from the Gulf). The Settlement Program awarded Claimant $497,000 in pre‐RTP lost profit
     ($624,000 post‐RTP), notwithstanding that its 2010 variable profit exceeded its Benchmark
     (2008‐2009) variable profit by 55%.

    Claim       : Claimant is a Zone D soybean farmer                     (more than 250 miles
     from the Gulf). The Settlement Program awarded Claimant $447,000 in pre‐RTP lost profit
     ($561,000 post‐RTP), notwithstanding that Claimant’s annual 2010 variable profit exceeded its
     annual variable profit in the Benchmark years by 16%.

    Claim       : Claimant is a Zone D cotton, corn, soybean and wheat farm
                (more than 300 miles from Gulf Coast). The Settlement Program awarded claimant
     $441,000 in pre‐RTP lost profit ($553,000 post‐RTP), notwithstanding that Claimant's 2010
     annual variable profit exceeded its annual variable profit in the Benchmark years by 42%.




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    Claim        : Claimant is a Zone D soybean farm                                (more than 200
     miles from the Gulf). The Settlement Program awarded Claimant $413,000 in pre‐RTP lost profit
     ($518,000 in post‐RTP), notwithstanding that Claimant’s 2010 annual variable profit exceeded
     its annual variable in the Benchmark years by 44%.

    Claim       : Claimant is a Zone D cotton farmer                          (more than 200 miles
     from the Gulf). The Settlement Program awarded Claimant $411,000 in pre‐RTP lost profit
     ($515,000 post‐RTP). This pre‐RTP award assumes that, in the absence of the Spill, Claimant
     could have expected its 2010 variable profit to increase by 108% over actual variable profit in
     the Benchmark Period.

    Claim       : Claimant is a Zone D corn farmer                       (more than 200 miles from
     the Gulf). The Settlement Program awarded Claimant $396,000 in pre‐RTP lost profit ($499,000
     post‐RTP). This pre‐RTP award assumes that, in the absence of the Spill, Claimant could have
     expected its 2010 variable profit to increase by 62% over actual variable profit in the Benchmark
     Period.

    Claim        Claimant is a Zone D oilseed and grain farm                       (more than 250
     miles from the Gulf). The Settlement Program awarded Claimant $383,000 in pre‐RTP lost profit
     ($480,000 post‐RTP), notwithstanding that Claimant’s 2010 variable profit exceeded its
     Benchmark Period (2009) variable profit by 191%.

    Claim       : Claimant is a Zone D oilseed and grain farm                      (more than 250
     miles from the Gulf). The Settlement Program awarded Claimant $370,000 in pre‐RTP lost profit
     ($462,000 post‐RTP), notwithstanding that Claimant’s 2010 variable profit exceeded its
     Benchmark (2009) variable profit by 822%.

    Claim        : Claimant is a Zone D farm supplies wholesaler                        (more than
     150 miles from the Gulf). The Settlement Program awarded Claimant $361,000 in pre‐RTP lost
     profit ($451,00 post‐RTP), notwithstanding that Claimant’s 2010 annual variable profit exceeded
     its annual variable profit in the Benchmark years by 12%.

    Claim        : Claimant is a Zone D cotton farm                         (more than 200 miles
     from the Gulf). The Settlement Program awarded Claimant $348,000 in pre‐RTP lost profit
     ($435,000 post‐RTP), notwithstanding that Claimant’s 2010 variable profit exceeded its 2009
     (Benchmark Period) variable profit. Claimant was unprofitable in 2009, losing $408,000 in
     variable profit, and became profitable in 2010, earning $1,347,000 in variable profit.

    Claim         Claimant is a Zone D timber harvesting business                     (more than
     100 miles from the Gulf). The Settlement Program awarded Claimant $318,000 in pre‐RTP lost
     profit ($397,000 post‐RTP), notwithstanding that Claimant’s 2010 variable profit exceeded its
     Benchmark variable profit by 82%.

    Claim       : Claimant is a Zone B gator farmer                       . The Settlement Program
     awarded Claimant $311,000 in pre‐RTP lost profit ($699,000 post‐RTP), notwithstanding that
     Claimant’s annual 2010 variable profit exceeded its annual variable profit in the Benchmark
     years by 18%.



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    Claim       : Claimant is a Zone D soybean farmer                          (more than 250
     miles from the Gulf). The Settlement Program awarded Claimant $284,000 in pre‐RTP lost profit
     ($356,000 post‐RTP), notwithstanding that Claimant’s 2010 variable profit exceeded its
     Benchmark variable profit by 27%.

    Claim       : Claimant is a Zone D oilseed and grain farm                    (more than 250
     miles from the Gulf). The Settlement Program awarded Claimant $268,000 in pre‐RTP lost profit
     ($337,000 post‐RTP), notwithstanding that Claimant’s 2010 variable profit exceeded its
     Benchmark (2009) variable profit by 67%.

    Claim       : Claimant is a Zone D oilseed and grain farm                      (more than 250
     miles from the Gulf). The Settlement Program awarded Claimant $262,000 in pre‐RTP lost profit
     ($330,000 post‐RTP), notwithstanding that Claimant’s 2010 annual variable profit exceeded its
     annual variable profit in the Benchmark years by 20%.

    Claim      : Claimant is a Zone D soybean farm i                        (more than 200 miles
     from the Gulf). The Settlement Program awarded Claimant $219,000 in pre‐RTP lost profit
     ($275,000 post‐RTP), notwithstanding that Claimant’s 2010 variable profit exceeded its
     Benchmark variable profit by 21%.

    Claim       : Claimant is a Zone D cotton farmer                     (more than 250 miles from
     the Gulf). The Settlement Program awarded Claimant $195,000 in pre‐RTP lost profit ($245,000
     post‐RTP), notwithstanding that Claimant’s 2010 variable profit exceeded its Benchmark variable
     profit by 81%.

    Claim        : Claimant is a Zone D oilseed and grain farm                         i (more than
     250 miles from the Gulf). The Settlement Program awarded Claimant $184,000 in pre‐RTP lost
     profit ($234,000 post‐RTP). Claimant was unprofitable in the Benchmark Period, losing an
     average of $44,000 in variable profit per year. This award assumes that, in the absence of the
     Spill, Claimant could have expected to reverse this trend and earn $72,000 in variable profit in
     2010.

    Claim       : Claimant is a Zone D farmer                          (more than 250 miles from the
     Gulf). The Settlement Program awarded Claimant $143,000 in pre‐RTP lost profit ($180,000
     post‐RTP). This pre‐RTP award assumes that, in the absence of the Spill, Claimant could have
     expected its 2010 variable profit to increase by 131% over actual variable profit in the
     Benchmark Period.

    Claim       : Claimant is a Zone D cotton farmer located                     (more than 300
     miles from the Gulf). The Settlement Program awarded Claimant $137,000 in pre‐RTP lost profit
     ($174,000 post‐RTP), notwithstanding that Claimant’s 2010 annual variable profit exceeded its
     annual variable profit in the Benchmark years.

    Claim       : Claimant is a Zone D agricultural business                     (more than 250
     miles from the Gulf). The Settlement Program awarded Claimant $123,000 in pre‐RTP lost profit




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     ($155,000 post‐RTP), notwithstanding that Claimant’s 2010 annual variable profit exceeded its
     annual variable profit in the Benchmark years.

    Claim        : Claimant is a Zone D oilseed and grain farmer                       (more than
     250 miles from the Gulf). The Settlement Program awarded Claimant $115,000 in pre‐RTP lost
     profits ($146,000 post‐RTP), notwithstanding that Claimant’s 2010 variable profit exceeded its
     Benchmark variable profit by 55%.

    Claim       : Claimant is a Zone D agricultural company engaged in postharvest crop activities
                                (more than 200 miles from the Gulf). The Settlement Program
     awarded Claimant $110,000 in pre‐RTP lost profits ($138,000 post‐RTP), notwithstanding that
     Claimant’s 2010 variable profit exceeded its Benchmark variable profit by 9%.

    Claim         : Claimant is a Zone D cotton farm                       (more than 250 miles
     from the Gulf). The Settlement Program awarded Claimant $106,000 in pre‐RTP lost profit
     ($134,000 post‐RTP), notwithstanding that Claimant’s 2010 variable profit exceeded its
     Benchmark (2009) variable profit. Claimant was unprofitable in 2009, losing $265,000 in
     variable profit, and became profitable in 2010, earning $131,000 in variable profit.

    Claim         Claimant is a Zone D soil preparation and cultivation company
                 (more than 250 miles from the Gulf). The Settlement Program awarded Claimant
     $95,158 in pre‐RTP lost profit ($119,383 post‐RTP), notwithstanding that Claimant’s 2010
     variable profit exceeded its Benchmark (2008‐2009) variable profit by 99%.

 Awards to Professional Services Industry Claimants

    Claim       : Claimant is a Zone C law office located                          . The Settlement
     Program awarded Claimant $2.7 million in pre‐RTP lost profit ($3.3 million in post‐RTP),
     notwithstanding that Claimant’s 2010 annual variable profit exceeded its annual variable profit
     in the Benchmark period by 10%. Claimant represents claimants in at least 43 claims brought
     under the Settlement Agreement.

    Claim       : Claimant is a Zone B law office                     . The Settlement Program
     awarded Claimant $1.6 million in pre‐RTP lost profit ($3.6 million post‐RTP), notwithstanding
     that Claimant’s 2010 variable profit exceeded its Benchmark (2009) variable profit. Claimant
     represents claimants in at least 47 claims brought under the Settlement Agreement.

    Claim      : Claimant is a Zone C engineering services business                  . The
     Settlement Program awarded Claimant $1.3 million in pre‐RTP lost profit, notwithstanding that
     Claimant’s 2010 variable profit exceeded its Benchmark (2007‐2009) average variable profit.

    Claim        : Claimant is a Zone D law office                       (more than 200 miles from
     the Gulf). The Settlement Program awarded Claimant $1.25 million in pre‐RTP lost profit ($1.57
     million post‐RTP), notwithstanding that Claimant’s annual 2010 variable profit exceeded its
     annual variable profit in the Benchmark years by 9%.




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    Claim          Claimant is a Zone D architectural services firm                    (more than
     200 miles from the Gulf). The Settlement Program awarded Claimant $802,000 in pre‐RTP lost
     profit (more than $1 million post‐RTP). This pre‐RTP award assumes that, in the absence of the
     Spill, Claimant could have expected its 2010 variable profit to increase by 64% over actual
     variable profit in the Benchmark Period.

    Claim       : Claimant is a Zone C law firm                  . The Settlement Program
     awarded Claimant $699,000 in pre‐RTP lost profit ($875,000 post‐RTP), notwithstanding that
     Claimant’s 2010 variable profit exceeded its 2009 (Benchmark Period) variable profit by 14%.

    Claim       : Claimant is a Zone B law office                         . The Settlement Program
     awarded Claimant $656,000 in pre‐RTP lost profit ($1.48 million post‐RTP), notwithstanding that
     Claimant’s annual 2010 variable profit exceeded its annual variable profit in the Benchmark
     years by 8%.

    Claim       : Claimant is a Zone C law office                          . The Settlement Program
     awarded Claimant $641,000 in pre‐RTP lost profit ($808,000 post‐RTP), notwithstanding that
     Claimant’s annual variable profit in 2010 exceeded its annual variable profit in the Benchmark
     years by 14%.

    Claim        : Claimant is a Zone B dental office                     . The Settlement
     Program awarded Claimant $504,000 in pre‐RTP lost profit ($1.14 million post‐RTP),
     notwithstanding that Claimant’s annual 2010 variable profit exceeded its annual variable profit
     in the Benchmark period.

    Claim       : Claimant is a Zone C health care office                   . The Settlement
     Program awarded Claimant $458,000 in pre‐RTP lost profit ($572,000 post‐RTP),
     notwithstanding that Claimant’s 2010 variable profit exceeded its Benchmark (2009) variable
     profit by 6%.

    Claim      : Claimant is a Zone C architectural firm                        . The Settlement
     Program awarded Claimant $436,000 in pre‐RTP lost profit ($554,000 post‐RTP),
     notwithstanding that Claimant’s annual 2010 variable profit exceeded its annual variable profit
     in the Benchmark period by 7%.

    Claim       : Claimant is a Zone C law office                   . The Settlement Program
     awarded Claimant $403,000 in pre‐RTP lost profit ($505,000 post‐RTP), notwithstanding that
     Claimant’s annual 2010 variable profit exceeded its annual variable profit in the Benchmark
     years by 8%.

    Claim      : Claimant is a Zone D landscape and architectural services firm                  .
     The Settlement Program awarded Claimant $358,000 in pre‐RTP lost profit ($450,000 post‐RTP),
     notwithstanding that Claimant’s 2010 variable profit exceeded its Benchmark variable profit by
     9%.




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    Claim       : Claimant is a Zone B law office                      . The Settlement Program
     awarded Claimant $328,000 in pre‐RTP lost profit ($739,000 post‐RTP), notwithstanding that
     Claimant’s 2010 variable profit exceeded its Benchmark (2009) variable profit by 14%.

    Claim       : Claimant is a Zone D law office                    . The Settlement Program
     awarded Claimant $296,000 in pre‐RTP lost profit ($376,000 post‐RTP), notwithstanding that
     Claimant’s 2010 variable profit exceeded its Benchmark (2009) variable profit by 84%. Claimant
     represents claimants in at least 57 claims brought under the Settlement Agreement.

    Claim       : Claimant is a Zone B law office                         . The Settlement Program
     awarded Claimant $293,000 in pre‐RTP lost profit ($659,000 post‐RTP), notwithstanding that
     Claimant’s annual 2010 variable profit exceeded its annual variable profit in the Benchmark
     years by 46%.

    Claim        : Claimant is a Zone C scientific and technical professional services firm
              . The Settlement Program awarded Claimant $290,000 pre‐RTP lost profit ($365,000
     post‐RTP), notwithstanding that Claimant’s 2010 variable profit exceeded its Benchmark variable
     profit by 17%.

    Claim       : Claimant is a Zone B law firm i                       . The Settlement Program
     awarded Claimant $277,000 in pre‐RTP lost profit ($623,000 post‐RTP), notwithstanding that
     Claimant’s 2010 variable profit exceeded its Benchmark (2009) variable profit by 18%.

    Claim       : Claimant is a Zone D event planning company                                . The
     Settlement Program awarded Claimant $273,000 in pre‐RTP lost profit (more than $619,000
     post‐RTP). This pre‐RTP award assumes that, in the absence of the Spill, Claimant could have
     expected its 2010 variable profit to increase by 156% over actual variable profit in the
     Benchmark Period.

    Claim        : Claimant is a Zone D architectural services firm                     . The
     Settlement Program awarded Claimant $241,000 in pre‐RTP lost profit ($305,000 post‐RTP),
     notwithstanding that Claimant’s 2010 variable profit exceeded its Benchmark (2008‐2009)
     variable profit by 55%.

    Claim        : Claimant is a Zone D advertising agency                       . The Settlement
     Program awarded Claimant $216,000 in pre‐RTP lost profit ($269,000 post‐RTP),
     notwithstanding that Claimant’s 2010 variable profit exceeded its 2009 (Benchmark Period)
     variable profit by 7%.

    Claim       : Claimant is a Zone C law office                  . The Settlement Program
     awarded Claimant $200,000 in pre‐RTP lost profit ($251,000 post‐RTP), notwithstanding that
     Claimant’s 2010 variable profit exceeded its Benchmark (2007‐2009) variable profit by 176%.
     Claimant represents claimants in at least 33 claims brought under the Settlement Agreement.

    Claim       : Claimant is a Zone D law firm                     . The Settlement Program
     awarded Claimant $193,000 in pre‐RTP lost profit ($245,000 post‐RTP), notwithstanding that
     Claimant’s 2010 variable profit exceeded its Benchmark variable profit by 6%.



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    Claim      : Claimant is a Zone C law firm                             . The Settlement
     Program awarded Claimant $177,000 in pre‐RTP lost profit ($222,000 post‐RTP),
     notwithstanding that Claimant’s 2010 variable profit exceeded its Benchmark variable profit by
     8%.

    Claim       : Claimant is a Zone C law firm                   . The Settlement Program
     awarded Claimant $174,000 in pre‐RTP lost profit ($220,000 post‐RTP), notwithstanding that
     Claimant’s 2010 variable profit exceeded its Benchmark variable profit by 48%.

    Claim       : Claimant is a Zone D real estate company                         (more than 150
     miles from the Gulf). The Settlement Program awarded Claimant $149,000 in pre‐RTP lost profit
     ($189,000 post‐RTP), notwithstanding that Claimant’s 2010 variable profit exceeded its
     Benchmark variable profit by 59%.

    Claim       : Claimant is a Zone D real estate agency                     (more than 275
     miles from the Gulf). The Settlement Program awarded Claimant $148,000 in pre‐RTP lost profit
     ($188,000 post‐RTP), notwithstanding that Claimant’s 2010 annual variable profit exceeded its
     annual variable profit in the Benchmark years by 17%.

    Claim       : Claimant is a Zone B law office                         . The Settlement
     Program awarded Claimant $141,000 in pre‐RTP lost profit ($319,000 post‐RTP),
     notwithstanding that Claimant’s 2010 annual variable profit exceeded its annual variable profit
     in the Benchmark years by 19%.

    Claim       : Claimant is a Zone B architectural services company                        . The
     Settlement Program awarded Claimant $140,000 in pre‐RTP lost profit ($317,000 post‐RTP),
     notwithstanding that Claimant’s 2010 variable profit exceeded its Benchmark variable profit by
     32%.

    Claim        : Claimant is a Zone D real estate office                       (more than 200
     miles from the Gulf). The Settlement Program awarded Claimant $132,000 in pre‐RTP lost
     profits ($167,000 post‐RTP), notwithstanding that Claimant’s 2010 variable profit exceeded its
     Benchmark variable profit by 16%.

    Claim       : Claimant is a Zone C physician’s office                   . The Settlement
     Program awarded Claimant $128,000 in pre‐RTP lost profit ($162,000 post‐RTP),
     notwithstanding that Claimant’s 2010 variable profit exceeded its Benchmark (2009) variable
     profit by 8%.

    Claim       : Claimant is a Zone C physicians’ office              . The Settlement Program
     awarded Claimant $128,000 in pre‐RTP lost profits ($162,000 post‐RTP), notwithstanding that
     Claimant’s 2010 variable profit exceeded its Benchmark variable profit by 12%.

    Claim     : Claimant is a Zone C physicians’ office                        . The Settlement
     Program awarded Claimant $125,000 in pre‐RTP lost profits ($159,000 post‐RTP),




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     notwithstanding that Claimant’s 2010 variable profit exceeded its Benchmark variable profit by
     24%.

    Claim      : Claimant is a Zone B physicians’ office                    . The Settlement
     Program awarded Claimant $125,000 in pre‐RTP lost profits ($282,000 post‐RTP),
     notwithstanding that Claimant’s 2010 variable profit exceeded its Benchmark variable profit by
     219%.

    Claim       : Claimant is a Zone C physicians’ office                          . The
     Settlement Program awarded Claimant $118,000 in pre‐RTP lost profit ($149,000 post‐RTP),
     notwithstanding that Claimant’s 2010 annual variable profit exceeded its annual variable profit
     in the Benchmark years.

    Claim       : Claimant is a Zone C real estate agency                  . The Settlement
     Program awarded Claimant $117,000 in pre‐RTP lost profit ($67,000 post‐RTP), notwithstanding
     that Claimant’s 2010 annual variable profit exceeded its annual variable profit in the Benchmark
     years by 19%.

    Claim       : Claimant is a Zone D law firm                     . The Settlement Program
     awarded Claimant $117,000 in pre‐RTP lost profits ($148,000 post‐RTP), notwithstanding that
     Claimant’s 2010 variable profit exceeded its Benchmark variable profit by 13%.

    Claim      : Claimant is a Zone D real estate office                   . The Settlement
     Program awarded Claimant $117,000 in pre‐RTP lost profits ($147,000 post‐RTP),
     notwithstanding that Claimant’s 2010 variable profit exceeded its Benchmark variable profit by
     23%.

    Claim      : Claimant is a Zone B real estate office                        . The Settlement
     Program awarded Claimant $115,000 in pre‐RTP lost profits ($262,000 post‐RTP),
     notwithstanding that Claimant’s 2010 variable profit exceeded its Benchmark variable profit by
     10%.

    Claim:         : Claimant is a Zone C architectural services company                       a.
     The Settlement Program awarded Claimant $109,000 in pre‐RTP lost profits ($138,000 post‐
     RTP), notwithstanding that Claimant’s 2010 variable profit exceeded its Benchmark variable
     profit by 10%.

    Claim        : Claimant is a Zone C real estate agency                  . The Settlement
     Program awarded Claimant $107,000 in pre‐RTP lost profit ($135,000 post‐RTP),
     notwithstanding that Claimant’s 2010 annual variable profit exceeded its annual variable profit
     in the Benchmark years by 13%.

    Claim       : Claimant is a Zone C physician’s office                  . The Settlement
     Program awarded Claimant $98,000 in pre‐RTP lost profit ($124,000 post‐RTP), notwithstanding
     that Claimant’s 2010 variable profit exceeded its 2009 (Benchmark Period) variable profit by
     13%.




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      Claim       : Claimant is a Zone C architect                   . The Settlement Program
       awarded Claimant $74,000 in pre‐RTP lost profit ($92,000 post‐RTP), notwithstanding that
       Claimant’s 2010 variable profit exceeded its Benchmark (2007‐2009) variable profit by 34%.

      Claim       : Claimant is a Zone D tourism guide provider                   (more than 120
       miles from the Gulf). The Settlement Program awarded Claimant $62,000 in pre‐RTP lost profit
       ($140,000 post‐RTP), notwithstanding that Claimant’s annual 2010 variable profit exceeded its
       annual variable profit in the Benchmark years by 54%.

      Claim       : Claimant is a Zone C physician                        . The Settlement Program
       awarded Claimant $50,000 in pre‐RTP lost profit ($63,000 post‐RTP), notwithstanding that
       Claimant’s 2010 variable profit exceeded its 2009 (Benchmark Period) variable profit by 24%.

      Claim         : Claimant is a Zone D computer programming company
       (more than 200 miles from the Gulf). The Settlement Program awarded Claimant $50,000 in
       pre‐RTP lost profit ($63,000 post‐RTP). This pre‐RTP award assumes that, in the absence of the
       Spill, Claimant could have expected its 2010 variable profit to increase by 62% over actual
       variable profit in the Benchmark Period.

      Claim        : Claimant is a Zone C environmental consulting business
                  The Settlement Program awarded Claimant $44,000 in pre‐RTP lost profit ($56,000
       post‐RTP), notwithstanding that Claimant’s 2010 annual variable profit exceeded its annual
       variable profit in the Benchmark years by 4%.

      Claim       : Claimant is a Zone C real estate agent                           . The
       Settlement Program awarded Claimant $40,000 in pre‐RTP lost profit ($50,000 post‐RTP),
       notwithstanding that Claimant’s 2010 variable profit exceeded its Benchmark (2009) variable
       profit.

      Claim       : Claimant is a Zone C technology consultant                       . The
       Settlement Program awarded Claimant $30,000 in pre‐RTP lost profit ($38,000 post‐RTP),
       notwithstanding that Claimant’s 2010 variable profit exceeded its Benchmark (2009) variable
       profit by 92%.


Awards to Claimants in Other Industries

      Claim      : Claimant is a Zone D manufacturer                        . The Settlement Program
       awarded Claimant $3.3 million in pre‐RTP lost profit ($4.2 million post‐RTP). This pre‐RTP award
       assumes that, in the absence of the Spill, Claimant’s 2010 variable profit would have increased
       by 66% over actual variable profit in the Benchmark Period.

      Claim       : Claimant is a Zone C Digital Printing Business                  . The Settlement
       Program awarded Claimant $2.9 million in pre‐RTP lost profit ($3.7 million post‐RTP),
       notwithstanding that Claimant’s 2010 variable profit exceeded its Benchmark (2009) variable
       profit by 14%.




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    Claim        : Claimant is a Zone D steel manufacturer                         (more than 200
     miles from the Gulf). The Settlement Program awarded Claimant $1.96 million in pre‐RTP lost
     profit ($2.46 million post‐RTP). This pre‐RTP award assumes that, in the absence of the Spill,
     Claimant’s 2010 variable profit would have increased by 59% over actual variable profit in the
     Benchmark Period.

    Claim       : Claimant is a Zone D used car dealer i                     (almost 100 miles from
     the Gulf). The Settlement Program awarded Claimant $1.14 million in pre‐RTP lost profit ($1.45
     post‐RTP), notwithstanding that Claimant’s annual 2010 variable profit exceeded its annual
     variable profit in the Benchmark period by 28%.

    Claim         : Claimant is a Zone D electrical equipment supplier                   . The
     Settlement Program awarded Claimant $829,000 in pre‐RTP lost profit ($1 million post‐RTP),
     notwithstanding that Claimant’s 2010 variable profit exceeded its Benchmark (2009) variable
     profit. Claimant was unprofitable in 2009, losing $29,000, and became profitable in 2010,
     earning $133,000 in variable profit.

    Claim       : Claimant is a Zone C business                        . The Settlement Program
     awarded Claimant $759,000 in pre‐RTP lost profit ($2 million post‐RTP), notwithstanding that
     Claimant’s 2010 variable profit exceeded its Benchmark (2008‐2009) variable profit.

    Claim         : Claimant is a Zone B meat wholesaler                        . The Settlement
     Program awarded Claimant $634,000 in pre‐RTP lost profit ($1.4 million post‐RTP). This pre‐RTP
     award assumes that, in the absence of the Spill, Claimant could have expected its 2010 variable
     profit to increase by 56% over actual variable profit in the Benchmark Period.

    Claim       : Claimant is a Zone D plastics manufacturer                         . The
     Settlement Program awarded Claimant $634,000 in pre‐RTP lost profit (more than $805,000
     post‐RTP). This pre‐RTP award assumes that, in the absence of the Spill, Claimant could have
     expected its 2010 variable profit to increase by 231% over actual variable profit in the
     Benchmark Period.

    Claim       : Claimant is a Zone D manufacturer                           (more than 200 miles
     from the Gulf). The Settlement Program awarded Claimant $516,000 in pre‐RTP lost profit
     ($656,000 post‐RTP). This pre‐RTP award assumes that, in the absence of the Spill, Claimant
     could have expected its 2010 variable profit to increase by 65% over actual variable profit in the
     Benchmark Period.

    Claim       : Claimant is a Zone D apparel accessories manufacturer                    . The
     Settlement Program awarded Claimant $497,000 in pre‐RTP lost profit, notwithstanding that
     Claimant’s 2010 variable profit exceeded its Benchmark variable profit by 6%.

    Claim        : Claimant is a Zone B retail business                      . The Settlement
     Program awarded Claimant $496,000 in pre‐RTP lost profit ($1.5 million post‐RTP),
     notwithstanding that Claimant’s 2010 variable profit exceeded its Benchmark (2007‐2009)
     variable profit.




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    Claim       : Claimant is a Zone B building materials dealer                   . The
     Settlement Program awarded Claimant $468,000 in pre‐RTP lost profit ($1.05 million post‐RTP),
     notwithstanding that Claimant’s annual 2010 variable profit exceeded its annual variable profit
     in the Benchmark years by 5%.

    Claim       : Claimant is a Zone C car dealership                   . The Settlement Program
     awarded Claimant $441,000 in pre‐RTP lost profit ($552,000 post‐RTP), notwithstanding that
     Claimant’s 2010 variable profit exceeded its Benchmark (2009) variable profit by 13%.

    Claim        : Claimant is a Zone D heating and air‐conditioning business                .
     The Settlement Program awarded Claimant $415,000 in pre‐RTP lost profit ($528,000 post‐RTP),
     notwithstanding that Claimant’s 2010 variable profit exceeded its Benchmark (2008‐2009)
     variable profit by 27%.

    Claim        : Claimant is a Zone D caterer                         . The Settlement Program
     awarded Claimant $411,000 in pre‐RTP lost profit ($1.3 million post‐RTP), notwithstanding that
     its 2010 variable profit exceeded its Benchmark (2008‐2009) variable profit by 16%.

    Claim       : Claimant is a Zone D plumbing and heating equipment supply company
              (more than 200 miles from the Gulf). The Settlement Program awarded Claimant
     $410,000 in pre‐RTP lost profit ($513,000 post‐RTP), notwithstanding that Claimant’s annual
     2010 variable profit exceeded its annual variable profit in the Benchmark years by 15%.

    Claim       : Claimant is a Zone D motor vehicle body manufacturing firm                ,
              (more than 200 miles from the Gulf). The Settlement Program awarded Claimant
     $408,000 in pre‐RTP lost profit ($518,000 post‐RTP), notwithstanding that Claimant’s annual
     2010 variable profit exceeded its annual variable profit in the Benchmark years by 5%.

    Claim        : Claimant is a Zone D mobile home dealer i                       (more than 250
     miles from the Gulf). The Settlement Program awarded Claimant $370,000 in pre‐RTP lost
     variable profit ($464,000 post‐RTP), notwithstanding that Claimant’s 2010 variable profit
     exceeded its 2009 (Benchmark Period) variable profit by 339%.

    Claim       : Claimant is a Zone C construction and mining machinery company
             . The Settlement Program awarded Claimant $307,000 in pre‐RTP lost profit ($390,000
     post‐RTP), notwithstanding that Claimant’s 2010 variable profit exceeded its Benchmark (2007‐
     2009) variable profit by 97%.

    Claim       : Claimant is a Zone C boat dealer                     . The Settlement Program
     awarded Claimant $260,000 in pre‐RTP lost profit ($331,000 post‐RTP), notwithstanding that
     Claimant’s 2010 variable profit exceeded its Benchmark variable profit by 5%.

    Claim       : Claimant is a Zone D metal manufacturer                       . The Settlement
     Program awarded Claimant $256,000 in pre‐RTP lost profit (more than $325,000 post‐RTP),
     notwithstanding that Claimant’s annual 2010 variable profit exceeded its annual variable profit
     in the Benchmark years by 21%.




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    Claim       : Claimant is a Zone D metals manufacturer                     . The Settlement
     Program awarded Claimant $249,000 in pre‐RTP lost profit ($313,000 post‐RTP). This pre‐RTP
     award assumes that, in the absence of the Spill, Claimant could have expected its 2010 variable
     profit to increase by 116% over actual variable profit in the Benchmark Period.

    Claim        : Claimant is a Zone D air‐conditioning and heating equipment manufacturer
                          (more than 200 miles from the Gulf). The Settlement Program awarded
     Claimant $240,000 in pre‐RTP lost profit ($300,000 post‐RTP), notwithstanding that Claimant’s
     2010 variable profit exceeded its Benchmark (2009) variable profit. Claimant was unprofitable
     in 2009, losing $68,000 in variable profit, and became profitable in 2010, earning $129,000 in
     variable profit.

    Claim        : Claimant is a Zone B durable goods merchant i                 . The Settlement
     Program awarded Claimant $234,000 in pre‐RTP lost profit ($530,000 post‐RTP),
     notwithstanding that Claimant’s 2010 variable profit exceeded its Benchmark (2007‐2009)
     variable profit by 9%.

    Claim        : Claimant is a Zone D amusement park                       . The Settlement
     Program awarded Claimant $227,000 in pre‐RTP lost profit ($511,000 post‐RTP),
     notwithstanding that Claimant’s 2010 variable profit exceeded its Benchmark (2008‐2009)
     variable profit by 25%.

    Claim         : Claimant is a Zone D fabricated metal company                           (more
     than 200 miles from the Gulf). The Settlement Program awarded Claimant $217,000 in pre‐RTP
     lost profit ($275,000 post‐RTP), notwithstanding that Claimant’s 2010 variable profit exceeded
     its Benchmark variable profit.

    Claim       : Claimant is a Zone C wholesale trade agent                       . The
     Settlement Program awarded Claimant $205,000 in pre‐RTP lost profit ($595,000 post‐RTP),
     notwithstanding that Claimant’s 2010 variable profit exceeded its Benchmark (2009) variable
     profit by 37%.

    Claim       : Claimant is a Zone D swimming pool equipment retailer
     (more than 200 miles from the Gulf). The Settlement Program awarded Claimant $204,000 in
     pre‐RTP lost profit ($259,000 post‐RTP), notwithstanding that Claimant’s 2010 variable profit
     exceeded its Benchmark (2007‐2009) variable profit by 4%.

    Claim        : Claimant is a Zone D electrical apparatus and equipment company
               . The Settlement Program awarded Claimant $202,000 in pre‐RTP lost profit ($257,000
     post‐RTP), notwithstanding that Claimant’s 2010 variable profit exceeded its Benchmark variable
     profit by 8%.

    Claim        : Claimant is a Zone B gas station chain                        . The Settlement
     Program awarded Claimant $198,000 in pre‐RTP lost profit (more than $594,000 post‐RTP). This
     pre‐RTP award assumes that, in the absence of the Spill, Claimant could have expected its 2010
     variable profit to increase by 93% over actual variable profit in the Benchmark Period.




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    Claim        : Claimant is a Zone C sporting goods store                          . The
     Settlement Program awarded Claimant $185,000 in pre‐RTP lost profit ($522,000 post‐RTP),
     notwithstanding that Claimant’s 2010 variable profit exceeded its Benchmark (2008‐2009)
     variable profit by 17%.

    Claim       : Claimant is a Zone D stone product manufacturer                   . The
     Settlement Program awarded Claimant $183,000 in pre‐RTP lost profit ($229,000 post‐RTP),
     notwithstanding that Claimant’s 2010 variable profit exceeded its Benchmark (2009) variable
     profit by 30%.

    Claim       : Claimant is a Zone C dealer of building materials                         . The
     Settlement Program awarded Claimant $182,000 in pre‐RTP lost profit ($230,000 post‐RTP).
     This pre‐RTP award assumes that, in the absence of the Spill, Claimant could have expected its
     2010 variable profit to increase by 129% over actual variable profit in the Benchmark Period.

    Claim       : Claimant is a Zone D gas station                   . The Settlement Program
     awarded Claimant $182,000 in pre‐RTP lost profit ($411,000 post‐RTP), notwithstanding that
     Claimant’s 2010 variable profit exceeded its Benchmark variable profit by 16%.

    Claim        : Claimant is a Zone C building materials dealer                 . The
     Settlement Program awarded Claimant $175,000 in pre‐RTP lost profit ($221,000 post‐RTP),
     notwithstanding that Claimant’s 2010 variable profit exceeded its Benchmark (2007‐2009)
     variable profit by 16%.

    Claim        : Claimant is a Zone B wholesaler                        . The Settlement Program
     awarded Claimant $171,000 in pre‐RTP lost profit ($389,000 post‐RTP). This pre‐RTP award
     assumes that, in the absence of the Spill, Claimant could have expected its 2010 variable profit
     to increase by 60% over actual variable profit in the Benchmark Period.

    Claim         : Claimant is a Zone C gas station chain                      . The Settlement
     Program awarded Claimant $162,000 in pre‐RTP lost profit ($459,000 post‐RTP). This pre‐RTP
     award assumes that, in the absence of the Spill, Claimant could have expected its 2010 variable
     profit to increase by 86% over actual variable profit in the Benchmark Period.

    Claim       : Claimant is a Zone D beauty salon                        (more than 210 miles
     from the Gulf). The Settlement Program awarded Claimant $145,000 in pre‐RTP lost profit
     ($184,000 post‐RTP), notwithstanding that Claimant’s 2010 annual variable profit exceeded its
     annual variable profit in the Benchmark years.

    Claim        : Claimant is a Zone D car dealer                    (more than 200 miles from
     the Gulf). The Settlement Program awarded Claimant $143,000 in pre‐RTP lost profit ($181,000
     post‐RTP), notwithstanding that Claimant’s 2010 annual variable profit exceeded its annual
     variable profit in the Benchmark years by 41%.

    Claim     : Claimant is a Zone C medical software company                  . The Settlement
     Program awarded Claimant $143,000 in pre‐RTP lost profit ($181,000 post‐RTP),




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     notwithstanding that Claimant’s annual 2010 variable profit exceeded its annual variable profit
     in the Benchmark years by 16%.

    Claim        : Claimant is a Zone D motor vehicle dealer                          (more than
     200 miles from the Gulf). The Settlement Program awarded Claimant $140,000 in pre‐RTP lost
     profit ($178,000 post‐RTP), notwithstanding that Claimant’s 2010 variable profit exceeded its
     Benchmark variable profit by 35%.

    Claim       : Claimant is a Zone D sporting goods store                    (more than 120
     miles from the Gulf). The Settlement Program awarded Claimant $130,000 in pre‐RTP lost profit
     ($294,000 post‐RTP), notwithstanding that Claimant’s 2010 variable profit exceeded its
     Benchmark (2009) variable profit.

    Claim        : Claimant is a Zone D sheet metal manufacturer                     (more than
     200 miles from the Gulf). The Settlement Program awarded Claimant $126,000 in pre‐RTP lost
     profit ($160,000 post‐RTP), notwithstanding that Claimant’s 2010 annual variable profit
     exceeded its annual variable profit in the Benchmark years by 11%.

    Claim       : Claimant is a Zone D commercial equipment wholesaler
     (more than 100 miles from the Gulf). The Settlement Program awarded Claimant $125,000 in
     pre‐RTP lost profit ($159,000 post‐RTP), notwithstanding that Claimant’s 2010 annual variable
     profit exceeded its annual variable profit in the Benchmark years by 23%.

    Claim       : Claimant is a Zone B commercial leasing company                    . The
     Settlement Program awarded Claimant $117,000 in pre‐RTP lost profit ($267,000 post‐RTP),
     notwithstanding that Claimant’s 2010 annual variable profit exceeded its annual variable profit
     in the Benchmark years by 23%.

    Claim      : Claimant is a Zone D sporting goods store                    . The Settlement
     Program awarded Claimant $114,000 in pre‐RTP lost profits ($257,000 post‐RTP),
     notwithstanding that Claimant’s 2010 variable profit exceeded its Benchmark variable profit by
     48%.

    Claim       : Claimant is a Zone C specialized freight trucking company                    .
     The Settlement Program awarded Claimant $108,000 in pre‐RTP lost profits ($137,000 post‐
     RTP), notwithstanding that Claimant’s 2010 variable profit exceeded its Benchmark variable
     profit by 14%.

    Claim      : Claimant is a Zone B snack and nonalcoholic beverage bar
             . The Settlement Program awarded Claimant $102,000 in pre‐RTP lost profits
     ($281,000 post‐RTP), notwithstanding that Claimant’s 2010 variable profit exceeded its
     Benchmark variable profit by 298%.

    Claim       : Claimant is a Zone D general freight trucking company                    . The
     Settlement Program awarded Claimant $100,000 in pre‐RTP lost‐profits ($127,000 post‐RTP),
     notwithstanding that Claimant’s 2010 variable profit exceeded its Benchmark variable profit by
     16%.



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    Claim         : Claimant is a Zone C manufacturer                              . The Settlement
     Program awarded Claimant $85,000 in pre‐RTP lost profit ($108,000 post‐RTP). This pre‐RTP
     award assumes that, in the absence of the Spill, Claimant could have expected its 2010 variable
     profit to increase by 58% over actual variable profit in the Benchmark Period.

    Claim       : Claimant is a Zone C electrical equipment supplier                  . The
     Settlement Program awarded Claimant $80,000 in pre‐RTP lost profit ($101,000 post‐RTP),
     notwithstanding that Claimant’s 2010 variable profit exceeded its Benchmark (2009) variable
     profit by 8%.

    Claim        : Claimant is a Zone D security service provider                      . The
     Settlement Program awarded Claimant $76,000 in pre‐RTP lost profit ($95,000 post‐RTP),
     notwithstanding that Claimant’s 2010 variable profit exceeded its Benchmark (2008‐2009)
     variable profit.

    Claim         : Claimant is a Zone D gas station chain                        . The Settlement
     Program awarded Claimant $73,000 in pre‐RTP lost profit ($123,000 post‐RTP). This pre‐RTP
     award assumes that, in the absence of the Spill, Claimant could have expected its 2010 variable
     profit to increase by 134% over actual variable profit in the Benchmark Period.

    Claim       : Claimant is a Zone D prosthetics manufacturer                              . The
     Settlement Program awarded Claimant $60,000 in pre‐RTP lost profit ($76,000 post‐RTP),
     notwithstanding that Claimant’s 2010 annual variable profit exceeded its annual variable profit
     in the Benchmark years.

    Claim        : Claimant is a Zone C real estate appraiser                      . The
     Settlement Program awarded Claimant $57,000 in pre‐RTP lost profit ($72,000 post‐RTP),
     notwithstanding that Claimant’s 2010 variable profit exceeded its Benchmark (2007‐2009)
     variable profit by 5%.

    Claim       : Claimant is a Zone D gas station i                     (more than 130 miles from
     the Gulf). The Settlement Program awarded Claimant $53,000 in pre‐RTP lost profit ($119,000
     post‐RTP), notwithstanding that Claimant’s 2010 variable profit exceeded its Benchmark (2008‐
     2009) variable profit by 12%.

    Claim       : Claimant is a Zone D stone products manufacturer                            The
     Settlement Program awarded Claimant $53,000 in pre‐RTP lost profit ($67,000 post‐RTP),
     notwithstanding that Claimant’s 2010 annual variable profit exceeded its annual variable profit
     in the Benchmark years by 15%.

    Claim       : Claimant is a Zone C new car dealer                         . The Settlement
     Program awarded Claimant $48,000 in pre‐RTP lost profit ($60,000 post‐RTP), notwithstanding
     that Claimant’s 2010 variable profit exceeded its Benchmark (2007‐2009) variable profit by 9%.

    Claim     : Claimant is a Zone C limousine service                  . The Settlement
     Program awarded Claimant $46,000 in pre‐RTP lost profit ($138,000 post‐RTP), notwithstanding



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     that Claimant’s 2010 variable profit exceeded its Benchmark (2008‐2009) variable profit.
     Claimant was unprofitable in 2008‐2009, losing $14,000 in variable profit, and became profitable
     in 2010, earning $6,000 in variable profit.

    Claim        : Claimant is a Zone C restaurant                       . The Settlement Program
     awarded Claimant $40,000 in pre‐RTP lost profit ($119,000 post‐RTP). This pre‐RTP award
     assumes that, in the absence of the Spill, Claimant could have expected its 2010 variable profit
     to increase by 1,368% over actual variable profit in the Benchmark Period.

    Claim         : Claimant is a Zone C trucking company                     . The Settlement
     Program awarded Claimant $32,000 in pre‐RTP lost profit ($41,000 post‐RTP). This pre‐RTP
     award assumes that, in the absence of the Spill, Claimant could have expected its 2010 variable
     profit to increase by 113% over actual variable profit in the Benchmark Period.




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